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                                                                     June 19, 2019




                                  CHARLIE AND NADINE H. V. MURPHY

                                  PROGRESS OF THE NEW JERSEY
                                  DEPARTMENT OF CHILDREN AND FAMILIES

                                  MONITORING PERIOD XXIII
                                  (JULY 1 – DECEMBER 31, 2018)




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                                          Department of Children and Families

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                                            Charlie and Nadine H. v. Murphy
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I.        INTRODUCTION

The Center for the Study of Social Policy (CSSP) was appointed in 2006 by the Honorable Stanley R. Chesler
of the United States District Court for the District of New Jersey as Federal Monitor of the class action lawsuit
Charlie and Nadine H. v. Murphy, aimed at improving outcomes for children, youth and families served
through New Jersey’s child welfare system. As the Monitor, CSSP has been charged with independently
assessing New Jersey’s compliance with the goals, principles and outcomes of the Court Order entered in 2003;
the Modified Settlement Agreement (MSA) entered in July 2006; and now the Sustainability and Exit Plan
(SEP) entered on November 4, 2015, that supersedes the MSA. This is the seventh monitoring report measuring
progress under the SEP and includes performance data for the period July 1 through December 31, 2018.1

Monitoring Methodology

The Monitor’s public reports cover six-month periods.2 The primary sources of information on New Jersey’s
progress are quantitative and qualitative data supplied by the Department of Children and Families (DCF) and
independently validated by the Monitor. DCF provides access to staff and documents to enable the Monitor to
verify performance.

DCF’s capacity to accurately collect and analyze data and make it regularly available to the public has
significantly grown over the past several years. In assessing progress, the Monitor first looks to the state’s data
and validates its accuracy. The Monitor also retains the authority to engage in independent data collection and
analysis where needed. DCF’s intent is to continue to expand the data that it publishes on its public website,3 as
well as on its publicly accessible New Jersey Child Welfare Data Hub, which was developed in collaboration
with Rutgers University.4 The Data Hub, launched in November 2016, allows users to create customized charts
and graphs using New Jersey’s child welfare data, and incorporates information from the formerly produced
quarterly DCF Demographics Report.

DCF has been working to produce a comprehensive annual public report that will be made widely available,
which will provide data and information about services universally accessible for families in New Jersey, as
well as those designed solely for families involved with CP&P.

Reports that DCF currently publishes on its website include:

         Commissioner’s Monthly Report5 – Current and produced monthly. This report gives a broad data
          snapshot of various DCF services. The report includes information from Child Protection & Permanency
          (CP&P), Office of Adolescent Services (OAS), Institutional Abuse Investigation Unit (IAIU),
          Children’s System of Care (CSOC), Family & Community Partnerships and the Division on Women.

         Screening and Investigations Report6 – Current and produced monthly. This report details State Central
          Registry (SCR) activity, including data regarding calls to the Child Abuse and Neglect Hotline,
          assignments to CP&P offices and trends in Child Protective Services (CPS) Reports and Child Welfare
          Services (CWS) Referrals.

1 Copies of all Monitoring Reports can be found at: https://cssp.org/our-work/projects/our-projects/class-action-litigation-new-jerseys-department-of-
children-and-families/
2 The exceptions to this time frame were Monitoring Period XIII, which covered July 1, 2012 through March 31, 2013; Monitoring Period XIV,

which covered April 1 through December 31, 2013; and Monitoring Period XVII, which covered January 1 through December 31, 2015.
3 To see DCF’s public website, go to: http://www.state.nj.us/dcf/about/
4 To see the New Jersey Child Welfare Data Hub, go to: https://njchilddata.rutgers.edu/#home
5 To see all Commissioner’s Monthly Reports, go to: http://www.nj.gov/dcf/childdata/continuous/
6 To see all Screening and Investigations Reports, go to: http://www.nj.gov/dcf/childdata/protection/screening/


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        Workforce Report7 – Last report dated January 2018. This report provides information regarding the
         demographics and characteristics of current workers, as well as a variety of indicators of workforce
         planning and development, using fiscal year (FY) (July 1 – June 30) data. Going forward, elements of
         this report will be incorporated into the new comprehensive annual report described above.

        Children’s Interagency Coordinating Council Report8 – Current and produced monthly. This report
         details referral and service activity for CSOC. It also includes demographics, referral sources, reasons,
         resolutions and services provided.

        New Jersey Youth Resource Spot9 – Ongoing and updated as relevant. This website offers the latest
         resources, opportunities, news and events for young people. This site includes information about the
         Youth Advisory Network, as well as additional resources available in each county and statewide.

        DCF Needs Assessment– Previously produced annually. Last report dated May 2018. During its multi-
         year needs assessment process, DCF produced annual reports on its website and reported twice annually
         to the Monitor.10 The most recent report, entitled DCF Needs Assessment 2018 Report #3: Survey
         Findings and Synthesis, updates interim findings to identify the resources needed to serve families with
         children at risk for entering out-of-home placement and those already in placement.11 The SEP requires
         reports to evaluate the need for additional placements and services to meet the needs of children, youth
         and their families involved with DCF, with each county assessed at least once every three years. During
         the monitoring period, DCF continued designing its new Needs Assessment process, which will become
         part of its new continuous quality improvement processes for each county.

The Monitor engaged in the following data verification activities for the period of July to December 2018.

        Caseload Data Verification

         The Monitor conducted a telephone survey in July, August and October 2018 of 150 randomly selected
         caseworkers to verify their individual caseloads during the monitoring period. Findings from this review
         are discussed in Section V.L – Caseloads – of this report.

        Housing, Employment and Education Status Review for Older Youth Exiting Care

         The Monitor collaborated with DCF to review case records of 61 youth age 18 to 21 who exited care
         between July 1 and December 31, 2018 without achieving permanency. The review focused on the
         housing, education and employment status of these youth. Findings from the review are discussed in
         Section V.J – Older Youth – of this report.

        Family Team Meeting Data Review

         The Monitor collaborated with DCF to review experiences of 210 children and families to verify
         instances in which workers determined that Family Team Meetings (FTMs) were not required because

7 To see DCF’s Workforce Report: 2016-2017 Updates, go to http://www.nj.gov/dcf/childdata/exitplan/NJ.DCF.Workforce.Report-FY17.pdf. To see
DCF’s Workforce: Preliminary Highlights 2014-2015 Report, go to:
http://www.state.nj.us/dcf/childdata/orgdev/NJ.DCF.Workforce.Report_2015.pdf
8 To see all Children’s InterAgency Coordinating Council Reports, go to: http://www.nj.gov/dcf/childdata/interagency/
9 To see New Jersey’s Youth Resource Spot, go to: http://www.njyrs.org/
10 To see the prior CP&P Needs Assessment reports, go to: http://www.nj.gov/dcf/childdata/protection/
11 To see New Jersey’s CP&P Final Needs Assessment 2018 Report #3: Survey Findings and Synthesis, go to:

http://www.nj.gov/dcf/childdata/protection/DCF.Needs.Assessment.Phase.IV.Report-March2018.pdf
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         parents were unavailable, missing, or declined the meeting. DCF and the Monitor reviewed all cases of
         documented exceptions to the FTM requirement in each month of the monitoring period. Further
         discussion of current performance on these measures is included in Section V.B – Family Team
         Meetings – of this report.

        Visits Data Review

         The Monitor collaborated with DCF to review case records of 259 children from October and November
         2018 in which workers documented that caseworker contacts with parents with a reunification goal (SEP
         IV.F.28) were not required because a parent was unavailable or there were other circumstances outside
         of their control that prevented visits from occurring. The Monitor also collaborated with DCF to review
         records of 189 children from October and November 2018 in which workers documented that sibling
         visits (SEP IV.F.31) were not required because a child declined, a sibling was unavailable or there were
         other circumstances outside of their control that prevented a visit. Findings are discussed in Section V.E
         – Visits – of this report.

        Other Monitoring Activities

         The Monitor interviewed and/or visited multiple internal and external New Jersey child welfare system
         stakeholders, including staff at all levels, contracted service providers, birth parents and advocacy
         organizations. The Monitor also attended DCF’s ChildStat meetings, Area Director meetings, and
         adolescent practice forums. The Monitor participates as reviewers in almost every scheduled statewide
         Qualitative Review (QR) throughout the year. DCF has fully cooperated with the Monitor in notifying
         Monitor staff of schedules and facilitating their participation in relevant activities.




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Structure of the Report

Section II provides an overview of the state’s accomplishments and challenges during this monitoring period.
Section III provides summary performance data on each of the outcomes and performance measures required by
the SEP in Table 1: Charlie and Nadine H. v. Murphy Child and Family Outcome and Case Practice
Performance Measures. Section IV provides information related to the SEP Foundational Elements.12 Section V
provides more detailed data and discussion of performance on SEP Outcomes To Be Maintained and Outcomes
To Be Achieved in the following areas:

        Investigations of alleged child maltreatment (Section V.A);
        Implementation of DCF’s Case Practice Model; including Family Team Meetings, case planning and
         visits (Sections V.B, V.C & V.E);
        Educational engagement for children in out-of-home care (Section V.D);
        Placement of children in out-of-home settings (Section V.F);
        Efforts to achieve permanency for children either through reunification with family, legal guardianship
         or adoption (Section V.H);
        Provision of health care services to children, youth and families (Section V.I);
        Services to older youth (Section V.J);
        Caseloads (Section V.L);
        Deputy Attorneys General Staffing (Section V.M);
        Accountability through the Qualitative Review and the production and use of accurate data (Section
         V.N);
        Needs Assessment (Section V.O); and
        Fiscal Year 2019 budget (Section V.P).




12The Foundational Elements requirements of the SEP intentionally recognize the state’s accomplishments in early implementation of the MSA. At
the Monitor’s discretion, based on a concern that a Foundational Element has not been sustained, the Monitor may request additional data. If the data
demonstrate a persistent problem, in the Monitor’s discretion, the state will propose and implement corrective action (SEP.II).
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II.      SUMMARY OF PERFORMANCE DURING JULY THROUGH DECEMBER 2018

This monitoring period is characterized by continued analysis and growth for the Department of Children and
Families (DCF). Based on the assessments and exploration conducted in her early months in the role,
Commissioner Christine Norbut Beyer and her team established a set of priorities and a new vision for DCF.
These priorities include: (1) increasing placements with kin; (2) prevention of maltreatment; (3) staff health and
wellness; and (4) more intentionally aligning all of the work of DCF with the Children’s System of Care
(CSOC) to improve mental health services and substance use treatment services to children and families in New
Jersey, as well as services for youth with intellectual and developmental disabilities. Commissioner Beyer
travelled across the state, engaging in town hall style meetings with approximately 500 parents and 50 youth
from all 21 counties served by DCF, including biological parents; youth in care; kinship caregivers; families
receiving behavioral health care, substance use treatment, or services for intellectual disabilities; resource
parents; families receiving in-home and out-of-home services; and foster care alumni. Feedback from these
sessions as well as data from Qualitative Reviews (QRs) and other forums informed the development of the
Commissioner’s new set of priorities. DCF is working with Rutgers University School of Social Work to
identity themes from this listening tour and will prepare a written report of findings to be published in the
summer of 2019.

Commissioner Beyer has continued to build her leadership team by naming Mollie Greene in February 2019 as
Assistant Commissioner of the Children’s System of Care (CSOC), the DCF division that serves children and
adolescents with emotional and behavioral health care challenges and their families, children with
developmental and intellectual disabilities and their families, and children with substance use challenges. Ms.
Greene was formerly the DCF Director of Clinical Services where she led a broad portfolio of services
connected to the health and behavioral health of children served by the Division. Also in February 2019, Niurca
Louis was named the Assistant Commissioner for the Division of Family and Community Partnerships. Ms.
Louis comes to DCF from Robin’s Nest, Inc., a New Jersey private provider, where she served in a number of
roles including Program Director for the Family Success Center, Director of Community Engagement and Vice
President of Prevention Services.

DCF also created a new office – the Office of Family Voice (OFV) – in November 2018. The purpose of the
OFV is to promote and facilitate the inclusion of youth and family voice in decisions involving policies and
practice that impact their lives. During the monitoring period and as part of developing its strategic plan, the
OFV conducted informational interviews with the DCF programs that currently collaborate with parents, youth,
resource parents and kinship care providers, as well as with external stakeholders, such the Birth Parent
National Network and the Parents Action Network.

In an effort to address retention and workforce development, DCF leadership is placing special emphasis on
workforce well-being. During the monitoring period, Alia Innovations, Inc., a not-for-profit dedicated to re-
designing systems to preserve family bonds, began meeting with senior- and middle-level managers to address
workforce well-being and to create a more collaborative working environment internally and with external
partners to better coordinate services for children, youth and families. Alia began offering micro-learning
sessions – short stress-reducing opportunities – to all staff to promote individual and organizational well-being.
In addition, in December 2018, DCF began work with Collaborative Safety, LLC, an organization that assists
human service agencies in making use of human factors analysis to effectively learn from critical incidents so
they are reliably prevented in the future. DCF intends to work with Collaborative Safety to create an
organizational culture that supports emotional and psychological safety for workers so they can better address
the needs of the families they serve.


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DCF’s leadership team has also expressed its commitment to analyzing and addressing racial disproportionality
and disparities in New Jersey’s child welfare system. In August 2018, DCF, along with New Jersey’s
Administrative Office of the Courts (AOC), hosted a Children in Court Race Equity Summit, which brought
together DCF leadership and staff of all levels, representatives from the judiciary, the Office of the Attorney
General, the Office of Parent Representation, the Office of the Law Guardian and Court Appointed Special
Advocates. Topics included a review of the data on racial disproportionality and disparity of children in
placement, methods other states are using to address implicit bias and institutional racism, and the Court
Improvement Program’s strategic plan. Going forward, DCF will be working with a consultant to identify ways
to reduce disproportionality and disparities in New Jersey.

A priority for DCF leadership in the coming months will be to continue to consider opportunities through
federal legislation passed in February 2018 – The Family First Prevention Services Act (FFPSA) – to place
children with family and provide services in the community to reduce the need for out-of-home placement.13
The legislation establishes a new federal funding structure that allows states to be reimbursed for prevention
services for up to 12 months to help “candidates for foster care” safely remain with their parents or relatives.
FFPSA also provides financial incentives for reducing congregate care placements and requires child welfare
group homes and congregate care facilities to meet new licensing and accreditation standards. DCF is
examining the extent to which FFPSA can be leveraged to provide additional resources and services to
candidates for foster care, expectant and parenting youth in care, families in which a parent has a substance use
disorder, and older youth transitioning out of foster care. DCF has formed multiple workgroups to address the
complexities involved in implementing FFPSA.

While keeping its focus on improving the quality of case practice, DCF maintained performance on each of the
SEP Foundational Elements in such important areas as manageable caseloads for workers, training, and the
provision of health care for children in out-of-home placement. DCF ended the monitoring period having met
42 of 48 SEP performance measures.14,15 As discussed in more detail below, DCF newly met one of the
remaining measures – monthly visits with siblings for children placed apart (SEP IV.F.31) – during this
monitoring period.

Three of the remaining six Outcomes To Be Achieved are measured by New Jersey’s Qualitative Review (QR)
process, and performance on each continue to be below acceptable standards. Despite DCF leadership’s focus
on emphasizing that the quality of case planning and teaming, which is perhaps as or even more important than
meeting timelines, progress on improving performance on both Quality of Case Plans (SEP IV.D.23) and
Quality of Teaming (SEP IV.B.20) has been slow and there have not been significant changes since CY 2017.

13 H.R.253 - Family First Prevention Services Act of 2017
14 These measures include: Institutional Abuse Investigations Unit (IAIU) (III.A.1); Timeliness of Investigation Completion (60 days) (SEP
IV.A.13); Timeliness of Investigation Completion (90 days) (SEP IV.A.14); Quality of Investigations (SEP IV.A.15); Initial Family Team Meeting
(SEP IV.B.16); Subsequent FTMs within 12 months (SEP IV.B.17); Subsequent FTMs after 12 months – Reunification Goal (SEP IV.B.18);
Subsequent FTMs after 12 months – Other than Reunification Goal (SEP IV.B.19); Needs Assessment (SEP IV.C.21); Initial Case Plans (SEP
IV.D.22); Supervisor/Worker Ratio (III.B.2); IAIU Investigators Caseload (III.B.3); Permanency Workers (Local Offices) Caseload (III.B.4);
Permanency Workers Caseload (III.B.5); Intake Workers (Local Offices) (SEP IV.E.24); Intake Workers (SEP IV.E.25); Adoption Local Office
Caseload (SEP IV.E.26); Adoption Workers (SEP IV.E.27); Timeliness of Current Plans (III.C.6); Adequacy of DAsG Staffing (III.D.7); Child
Health Units (III.E.8); Parent-Child Visits – weekly (SEP IV.F.29); Parent-Child Visits – bi-weekly (SEP IV.F.30); Sibling Visits (SEP IV.F.31);
Caseworker Contacts with Children – New Placement/Placement Changes (III.F.9); Caseworker Contact with Children in Placement (III.F.10);
Placing Siblings Together (SEP IV.G.32); Placing Siblings Together for Four or More Children (SEP IV.G.33); Recruitment of Placements for
Sibling Groups of Four or More (SEP IV.G.34); Placement Stability for first 12 months in care (SEP IV.G.35); Placement Stability 13-24 Months in
Care (SEP IV.G.36); Educational Needs (III.G.11); Abuse and Neglect of Children in Foster Care (III.H.12); Repeat Maltreatment (In-home) (SEP
IV.H.37); Maltreatment Post-Reunification (SEP IV.H.38); Permanency within 12 Months (SEP IV.I.40); Permanency within 36 months (SEP
IV.I.42); Permanency within 48 months (SEP IV.I.43); Independent Living Assessments (SEP IV.K.45); Quality of Case Planning and Services (SEP
IV.K.46); Housing for Older Youth Exiting to Non-Permanency (SEP IV.K.47); and Employment/Education for Older Youth Exiting to Non-
Permanency (SEP IV.K.48).
15 Placing Siblings Together (SEP IV.G.32) did not meet the performance standard this monitoring period. The Monitor will wait to review data from

the period January 1 through December 31, 2019 before recommending a change in categorization for this measure.
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Results from the QR show that only 51 percent (100 of 195) of cases reviewed were rated acceptable on the
Quality of Case Plans (SEP IV.D.23) and 58 percent (84 of 145) of cases reviewed rated acceptable on Quality
of Teaming (SEP IV.B.20) between January and December 2018. Results from the QR on Services to Support
Transition (SEP IV.J.44) indicate that 62 percent (73 of 118) of cases were rated acceptable; this is also not a
significant shift in performance from CY 2017 or CY 2016, and well below the standard of 80 percent. The lack
of progress on these measure reflects the overall quality of casework issues that the Department is working to
improve with a renewed focus on DCF’s Case Practice Model and, in particular, consistent quality casework
practice. Prioritizing core case practice strategies and working with supervisors and staff to enhance their skills
and attention to engagement, assessment and case planning with families will likely help to improve the QR
results for all three measures.

In addition to the three measures related to the quality of case practice, DCF has not met performance standards
related to caseworker contacts with family when the child’s goal is reunification (SEP IV.F.28). Between July
and December 2018, a range of 74 to 81 percent of applicable parents or other legally responsible family
members were visited at least twice per month by a caseworker; performance on this measure continues to be
below the 90 percent standard.

The final two measures DCF has not yet achieved are annual outcome measures, though one of them, timely
permanency within 24 months (SEP IV.I.41), is within one percentage point of the standard and has remained
close for multiple years. The other, regarding the rate of re-entry to placement within 12 months for children
who are discharged to reunification, living with relatives, or guardianship (SEP IV.H.39), has not demonstrated
much movement since 2010. DCF is taking a closer look at factors that contribute to re-entry to foster care to
explore barriers to performance on this measure.

DCF’s work to align its CQI efforts – in particular the QRs and ChildStat, discussed in some detail in this report
– and its focus on embedding New Jersey’s Case Practice Model (CPM) more concretely in child welfare
practice, is anticipated to have a significant, positive affect on the remaining Outcomes To Be Achieved.

Family Team Meetings

FTMs are an integral component of DCF’s case practice and are used to bring families, providers, and formal
and informal supports together to exchange information, participate in case planning, coordinate and follow up
on services and examine and track progress toward accomplishing case plan goals. As discussed in Section V.B,
the SEP includes five performance measures pertaining to FTMs, four of which have been previously met and
designated as Outcomes To Be Maintained. DCF maintained satisfactory performance for these four measures
this period, exceeding requirements for FTMs held within 45 days of a child’s removal (SEP IV.B.16); for three
additional FTMs after the initial meeting held within the first 12 months of placement (SEP IV.B.17); for at
least three FTMs each year for children in care after 12 months with the goal of reunification (SEP IV.B.18);
and for at least two FTMs each year for children in care after 12 months with a goal other than reunification
(SEP IV.B.19). As mentioned above, the overall quality of teaming (SEP IV.B.20) remains an Outcome To Be
Achieved, and is measured through a qualitative review process and reported on an annual basis.

Appropriate Placements and Services

DCF continues to maintain a solid pool of placement resource homes and group settings to meet the needs of
children in out-of-home care. As of December 31, 2018, 5,586 children were in out-of-home placement (468
fewer than at the end of June 2018), of which 5,255 were children between the ages of birth and 17, and 331
were between the ages of 18 and 21. Of the 5,586 children, 5,053 (90%) were placed in family-like settings:
2,965 children (53%) in non-kinship resource family homes, and 2,088 children (37%) in kinship homes. For

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those in non-family settings, 441 children (8%) were placed in group and residential settings facilities and 92
children (2%) were in independent living programs.

Between July and December 2018, DCF licensed 612 new kinship and non-kinship resource family homes; of
these newly licensed resource family homes, 359 (59%) were kinship homes and 253 (41%) were non-kinship
homes. As of December 31, 2018 there were a total of 4,086 licensed resource family homes in the state, with a
total bed capacity for 8,946 children. Of the total number of resource family homes, 1,289 were kin homes and
2,797 were non-kin homes. DCF’s focus continues to be on identifying and recruiting more kinship homes,
homes for large sibling groups and adolescents as described further in Section V.F.

Maintaining Contact with Children, Parents and Siblings

Visits between children in foster care and their workers, parents and siblings are an essential element of
successful child welfare practice. As discussed in Section V.E, there are six performance measures in the SEP
related to visits, four of which have been previously met and designated as Outcomes To Be Maintained. For the
first time this monitoring period, DCF’s performance met the requirement for visits between siblings placed
apart (SEP IV.F.31), an important accomplishment. It also maintained satisfactory performance with respect to
the four SEP measures that had already been met, exceeding requirements for caseworker visits with children in
both new and ongoing placements (SEP III.F.9 and III.F.10, respectively) and both weekly and biweekly visits
between children and their parents (SEP IV.F.29 and IV.F.30, respectively). As mentioned above, DCF has not
yet met the SEP performance standard for caseworker contacts with families with a reunification goal (SEP
IV.F.28).

Services to Older Youth

DCF has continued its work to improve the experiences of older youth in its care through the efforts of the
Office of Adolescent Services (OAS). As discussed in Section V.J, the SEP includes four performance measures
related to DCF’s work with older youth, all of which were previously met and designated as Outcomes To Be
Maintained. DCF maintained satisfactory performance this period with respect to the quality of case planning
and services for older youth (SEP IV.K.46), and in ensuring youth age 14 to 18 engage in Independent Living
Assessments (SEP IV.K.45). The Monitor was encouraged that, after a decline in performance in the last period,
DCF again met the standards with respect to housing (SEP IV.K.47) and education and employment for youth
exiting care without achieving permanency (SEP IV.K.48).

Continuous Quality Improvement

DCF’s new leadership team finalized its plan to reshape its various continuous quality improvement (CQI)
efforts, formally aligning a number of its long-standing review processes including the Qualitative Review
(QR), ChildStat, county Needs Assessments, and the federal Child and Family Service Review (CFSR). While
these reviews and assessments have operated on four different schedules in the past, they are now being
integrated in order to improve the Department’s ability to obtain important and timely feedback on what is
working and what is not, leading to steps to better meet the needs of children, youth and families in New Jersey.

Beginning in January 2019, the ChildStat forum now focuses more comprehensively on county-level practice
rather than featuring a single case from one Local Office. The county-level practice that is reviewed at each
ChildStat meeting incorporates the results of the county’s most recent QR, as well as a targeted case record
review by Local Office managers in that county, conducted within 30 days of the QR debrief. The new format is
designed to facilitate direct dialogue between state and county-level leadership. Practice in each county will
continue to be assessed every two years, following the QR schedule. A county-level CQI team, eventually

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incorporating staff from the Children’s System of Care (CSOC) and the county Human Service directors, will
analyze and incorporate findings from the QR and ChildStat to develop a county-level PIP within 75 days of the
ChildStat meeting. The goal of these changes is to leverage and learn from practice improvement efforts across
the state to more comprehensively assess challenges, identify opportunities, and advance practice improvement.




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III.      CHILD AND FAMILY OUTCOMES AND CASE PRACTICE PERFORMANCE MEASURES

The child and family outcomes and case practice performance measures are 48 measures and Foundational
Elements that assess the state’s performance in meeting the requirements of the SEP (see Table 1). These
performance measures cover the areas of child safety, permanency, service planning, child well-being and
ongoing infrastructure development pertaining to core elements such as appropriate staffing, caseloads and
training.

Many of the measures are assessed through a review of data from NJ SPIRIT16 and SafeMeasures,17 and, in
some areas, these data are independently validated by the Monitor. Data are also provided through DCF’s work
with Rutgers University,18 which assists with data analysis. With few exceptions, performance data provided in
this report are as of December 2018.




16 NJ SPIRIT is New Jersey’s Statewide Automated Child Welfare Information System (SACWIS), a case management and financial system
designed to support the daily work of caseworkers and supervisors within DCF.
17 SafeMeasures is a data warehouse and analytical tool that allows tracking of critical child welfare indicators by worker, supervisor, Local Office,

county and statewide. It is used by different levels of staff to track, monitor and analyze performance and trends in case practice and targeted
measures and outcomes.
18 DCF transferred this function from Hornby Zeller Associates, Inc. to Rutgers University in July 2017.


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                            Table 1: Charlie and Nadine H. Child and Family Outcome and Case Practice Performance Measures
                                                    (Summary of Performance as of December 31, 2018)


                                                                                  Table 1A: To Be Achieved

       SEP              Quantitative or                  Sustainability and                       June 2018                           December 2018                    Requirement Fulfilled
     Reference        Qualitative Measure                Exit Plan Standard                     Performance19                         Performance20                         (Yes/No)21

                                                                                         Family Teaming




                                                       75% of cases involving
                                                       out-of-home placements
                                                       that were assessed as part
                                                       of the QR process will
                                                       show evidence of both                                                   58% of cases rated acceptable
                                                                                         59% of cases rated acceptable
                                                       acceptable team formation                                               for the QR indicator teamwork
 IV.B.20             Quality of Teaming                                                  for the QR indicator teamwork                                                               No
                                                       and acceptable functioning.                                             and coordination (CY
                                                                                         and coordination (CY 2017).
                                                       The Monitor, in                                                         2018).22,23
                                                       consultation with the
                                                       parties, shall determine the
                                                       standards for quality team
                                                       formation and functioning.




19 In some instances, where the Monitor did not report mid-year data, the most recent annual data are included.
20 In some instances where the Monitor does not have December 2018 data, the most recent data available are included.
21 “Yes” indicates that, in the Monitor’s judgment, based on presently available information, DCF has fulfilled its obligations regarding the requirement under the SEP. “No” indicates that, in the

Monitor’s judgment, DCF has not fulfilled its obligation regarding the SEP requirement.
22 From January to December 2018, 58% (84 of 145) of applicable cases reviewed for Quality of Teaming were rated acceptable for the teamwork and coordination indicator.
23 All in-home cases were excluded from this measure.


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                                                                              Table 1A: To Be Achieved

       SEP             Quantitative or                 Sustainability and                     June 2018                         December 2018                   Requirement Fulfilled
     Reference       Qualitative Measure               Exit Plan Standard                   Performance19                       Performance20                        (Yes/No)21

                                                                              Case and Service Planning

                                                     80% of case plans shall be
                                                     rated acceptable as
                                                                                      53% of cases rated acceptable       51% of cases rated acceptable
                                                     measured by the QR
                                                                                      for both QR indicators child        for both QR indicators child
                                                     process. The Monitor, in
 IV.D.23            Quality of Case Plans                                             and family planning process         and family planning process                        No
                                                     consultation with the
                                                                                      and tracking and adjusting          and tracking and adjusting
                                                     parties, shall determine that
                                                                                      (CY 2017).                          (CY 2018).24
                                                     standards for quality case
                                                     planning.

                                                                                             Visits

                                                                                                                          In December 2018, 76% of
                                                                                      In June 2018, 77% of
                                                                                                                          applicable parents of children
                                                     90% of families will have        applicable parents of children
                                                                                                                          in custody with a goal of
                                                     at least twice-per-month,        in custody with a goal of
                    Caseworker Contacts with                                                                              reunification had at least two
                                                     face-to-face contact with        reunification had at least two
 IV.F.28            Family When Goal is                                                                                   face-to-face visits with a                         No
                                                     their caseworker when the        face-to-face visits with a
                    Reunification                                                                                         caseworker. Monthly range
                                                     permanency goal is               caseworker. Monthly range
                                                                                                                          during July – December 2018
                                                     reunification.                   during January – June 2018
                                                                                                                          monitoring period: 74 to
                                                                                      monitoring period: 76 to 80%.
                                                                                                                          80%.25,26




24 From January to December 2018, 51% (100 of 195) of applicable cases reviewed were rated acceptable for both child and family planning process and tracking and adjusting indicators; 55% (107
of 195) of cases were rated acceptable for child and family planning process; 70% (137 of 195) of cases were rated acceptable for tracking and adjusting.
25 Monthly performance is as follows: July, 79%; August, 80%; September, 78%; October, 78%; November, 74%; December, 76%. Reported performance accounts for valid exceptions to the visits

requirement.
26 The Monitor and DCF completed a joint validation of a sample of two months in the monitoring period and found that exceptions were appropriately applied and documented in 67% of cases.

Therefore, these data reflect exclusions from the universe of instances in which exceptions to the requirement for worker visits with parents were appropriately applied and documented.
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                                                                                   Table 1A: To Be Achieved

       SEP               Quantitative or                  Sustainability and                        June 2018                           December 2018                     Requirement Fulfilled
     Reference         Qualitative Measure                Exit Plan Standard                      Performance19                         Performance20                          (Yes/No)21

                                                         85% of children in custody
                                                         who have siblings with
                                                         whom they are not residing
                                                                                           In June 2018, 75% of children          In December 2018, 88% of
                                                         will visit those siblings at
                                                                                           in custody who have siblings           children in custody who have
                                                         least monthly, excluding
                                                                                           with whom they are not                 siblings with whom they are
                                                         those situations where a
 IV.F.31                                                                                   residing visited with their            not residing visited with their
                      Child Visits with Siblings         court order prohibits or                                                                                                       Yes
                                                                                           siblings within the month.             siblings within the month.
                                                         regulates visits or there is
                                                                                           Monthly range during January           Monthly range during July –
                                                         supervisory approval of a
                                                                                           – June 2018 monitoring                 December 2018 monitoring
                                                         decision to cancel a visit
                                                                                           period: 74 to 80%.                     period: 85 to 88%.27,28
                                                         because it is physically or
                                                         psychologically harmful to
                                                         a child.

                                                                                             Maltreatment

                                                         Of all children who enter
                                                         foster care in a 12 month         11.2% of children who entered          12.2% of children who entered
                                                         period for the first time         foster care for the first time in      foster care for the first time in
                                                         who are discharged within         CY 2015 and were discharged            CY 2016 and were discharged
                                                         12 months to reunification,       within 12 months to                    within 12 months to
 IV.H.39              Re-Entry to Placement                                                                                                                                              No
                                                         living with relative(s), or       reunification, living with             reunification, living with
                                                         guardianship, no more than        relative(s), or guardianship,          relative(s), or guardianship, re-
                                                         9% will re-enter foster care      re-entered foster care within          entered foster care within 12
                                                         within 12 months of their         12 months of their discharge.          months of their discharge.
                                                         discharge.




27 Monthly performance is as follows: July, 86%; August, 86%; September, 87%; October, 87%; November, 85%; December, 88%. Reported performance accounts for valid exceptions to the visits
requirement.
28 The Monitor and DCF completed a joint validation of a sample of two months in the monitoring period and found that exceptions were appropriately applied and documented in 60% of cases.

Therefore, these data reflect exclusions from the universe of instances in which exceptions to the requirement for sibling visits were appropriately applied and documented. These data also reflect
inclusion of sibling visits facilitated by private providers for the first time this monitoring period. Therefore, data for this period are not comparable to data reported in previous monitoring periods.
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                                                                                 Table 1A: To Be Achieved

       SEP              Quantitative or                  Sustainability and                       June 2018                          December 2018                    Requirement Fulfilled
     Reference        Qualitative Measure                Exit Plan Standard                     Performance19                        Performance20                         (Yes/No)21

                                                                                      Timely Permanency

                                                       Of all children who enter
                                                       foster care in a 12-month         65% of children who entered           65% of children who entered
                                                       period, at least 66% will be      foster care in CY 2015 were           foster care in CY 2016 were
                                                       discharged to permanency          discharged to permanency              discharged to permanency
                     Permanency Within 24
 IV.I.41                                               (reunification, living with       (reunification, living with           (reunification, living with                          No
                     Months
                                                       relatives, guardianship or        relative(s), guardianship or          relatives, guardianship or
                                                       adoption) within 24               adoption) within 24 months of         adoption) within 24 months of
                                                       months of entering foster         entering foster care.29               entering foster care.
                                                       care.


                                                                               Services to Support Transition

                                                       80% of cases will be rated
                                                       acceptable for supporting
                                                       transitions as measured by
                                                                                         59% of cases rated acceptable         62% of cases rated acceptable
                     Services to Support               the QR. The Monitor, in
 IV.J.44                                                                                 for the QR indicator successful       for the QR indicator successful                      No
                     Transition                        consultation with the
                                                                                         transitions (CY 2017).                transitions (CY 2018).30
                                                       parties, shall determine the
                                                       standards for quality
                                                       support for transitions.




29 This data reflects an adjustment of historical data to include those in the entry cohort who were discharged to permanency between the ages of 18 and 21. DCF provided these data for the first time
this monitoring period, and the Monitor has not independently verified it, but has included it here, which shows a higher level of performance than has been reported in prior monitoring periods.
30 From January to December 2018, 62% (73 of 118) of applicable cases reviewed were rated acceptable for the successful transitions indicator.


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                                                                                Table 1B: To Be Maintained

       SEP               Quantitative or                  Sustainability and                       June 2018                          December 2018                       Requirement
     Reference         Qualitative Measure                Exit Plan Standard                     Performance31                        Performance32                   Maintained (Yes/No)33

                                                                                           Investigations

                                                        80% of IAIU                       In June 2018, 87% of IAIU             In December 2018, 82% of
                      Institutional Abuse
     III.A.1                                            investigations will be            investigations were completed         IAIU investigations were                            Yes
                      Investigations Unit (IAIU)
                                                        completed within 60 days.         within 60 days.                       completed within 60 days.


                                                        85% of all investigations of
                                                        alleged child abuse and                                                 In November 2018, 81% of
                                                                                          In May 2018, 85% of all
                                                        neglect shall be completed                                              all investigations were
                                                                                          investigations were completed
                      Timeliness of Investigation       within 60 days. Cases with                                              completed within 60 days.
     IV.A.13                                                                              within 60 days. Monthly range                                                            Yes35
                      Completion (60 days)              documented acceptable                                                   Monthly range during June –
                                                                                          during December – May 2018
                                                        extensions in accordance                                                November 2018 monitoring
                                                                                          monitoring period: 85 to 86%.
                                                        with policy are considered                                              period: 81 to 85%.34
                                                        compliant.

                                                        95% of all investigations of
                                                        alleged child abuse and           In May 2018, 95% of all               In November 2018, 94% of
                                                        neglect shall be completed        investigations were completed         all investigations were
                      Timeliness of Investigation       within 90 days. Cases with        within 90 days. Monthly range         completed within 90 days.
     IV.A.14                                                                                                                                                                        Yes
                      Completion (90 days)              documented acceptable             during December – May 2018            Monthly range during June –
                                                        extensions in accordance          monitoring period remained            November 2018 monitoring
                                                        with policy are considered        consistent at 95%.                    period: 93 to 95%.36
                                                        compliant.


31 In some instances, where the Monitor did not report mid-year data, the most recent annual data are included.
32 In some instances where the Monitor does not have December 2018 data, the most recent data available are included.
33 “Yes” indicates that, in the Monitor’s judgment based on presently available information, DCF has fulfilled its obligations regarding the requirement under the SEP. The Monitor has also

designated “Yes” for a requirement where DCF has met or is within one percentage point of the SEP standard or there are a small number of cases causing the failure to meet the SEP standard.
34 Due to the time lag of this measure, the Monitor and DCF decided to alter the period of review, so June 2018 data are included for this period and December 2018 data will be included in the next

monitoring report. Monthly performance for this measure is as follows: June, 83%; July, 83%; August, 85%; September, 84%; October, 83%; November, 81%.
35 The Monitor considers this to be a temporary decline in performance that is still within an acceptable range. The Monitor will continue to carefully track these data to determine if this decline in

performance is temporary and/or insubstantial.
36 Due to the time lag of this measure, the Monitor and DCF decided to alter the period of review, so June 2018 data are included for this period and December 2018 data will be included in the next

monitoring report. Monthly performance for this measure is as follows: June, 94%; July, 94%; August, 94%; September, 95%; October, 93%; November, 94%.
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                                                                            Table 1B: To Be Maintained

       SEP             Quantitative or                 Sustainability and                     June 2018                        December 2018                     Requirement
     Reference       Qualitative Measure               Exit Plan Standard                   Performance31                      Performance32                 Maintained (Yes/No)33

                                                     85% of investigations shall
                                                     meet the standards for           91% of investigations met
                                                     quality investigations. The      quality standards in a March        NA: quality measured
                                                     Monitor, in consultation         2018 review of a statistically      through an Investigative Case       Not newly assessed in this
     IV.A.15         Quality Investigations
                                                     with the parties, shall          significant sample of               Record Review, last                         period.
                                                     determine appropriate            investigations completed in         conducted in March 2018.37
                                                     standards for quality            October 2017.
                                                     investigations.

                                                                                    Family Teaming

                                                                                                                          In December 2018, 95% of
                                                                                      In June 2018, 85% of children
                                                                                                                          children newly entering
                                                     80% of children newly            newly entering placement had
                                                                                                                          placement had a FTM within
                                                     entering placement shall         a FTM within 45 days of
                     Initial Family Team                                                                                  45 days of entering
     IV.B.16                                         have a family team               entering placement. Monthly                                                         Yes
                     Meeting                                                                                              placement. Monthly range
                                                     meeting before or within         range during January – June
                                                                                                                          during July – December 2018
                                                     45 days of placement.            2018 monitoring period: 85 to
                                                                                                                          monitoring period: 74 to
                                                                                      90%.
                                                                                                                          95%.38




37The Investigation Case Record Review is typically conducted every two years.
38Monthly performance for this measure is as follows: July, 74%; August, 82%; September, 88%; October, 82%; November, 86%; December, 95%. Reported performance accounts for valid
exceptions to the FTM requirement. The Monitor and DCF jointly reviewed all 79 cases in which there was documentation of an exception to the FTM requirement and excluded from these data all
instances (for each month) in which they determined that an exception was appropriately used.
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                                                                            Table 1B: To Be Maintained

       SEP             Quantitative or                 Sustainability and                     June 2018                        December 2018                     Requirement
     Reference       Qualitative Measure               Exit Plan Standard                   Performance31                      Performance32                 Maintained (Yes/No)33

                                                                                      In June 2018, 78% of children       In December 2018, 84% of
                                                     80% of children will have        had three or more additional        children had three or more
                                                     three additional FTMs            FTMs within the first 12            additional FTMs within the
                     Subsequent FTMs within
     IV.B.17                                         within the first 12 months       months of placement. Monthly        first 12 months of placement.                   Yes
                     12 months
                                                     of the child coming into         range during January – June         Monthly range during July –
                                                     placement.                       2018 monitoring period: 77 to       December 2018 monitoring
                                                                                      91%.                                period: 81 to 92%.39

                                                                                                                          In December 2018, 95% of
                                                                                      In June 2018, 95% of children
                                                     After the first 12 months of                                         children with a goal of
                                                                                      with a goal of reunification
                                                     a child being in care, 90%                                           reunification had three or
                     Subsequent FTMs after 12                                         had three or more FTMs after
                                                     of those with a goal of                                              more FTMs after 12 months
     IV.B.18         months – Reunification                                           12 months of placement.                                                             Yes
                                                     reunification will have at                                           of placement. Monthly range
                     Goal                                                             Monthly range during January
                                                     least three FTMs each                                                during July – December 2018
                                                                                      – June 2018 monitoring
                                                     year.                                                                monitoring period: 74 to
                                                                                      period: 93 to 100%.
                                                                                                                          96%.40

                                                                                                                          In December 2018, 89% of
                                                                                      In June 2018, 96% of children
                                                     After the first 12 months of                                         children with a goal other
                                                                                      with a goal other than
                                                     a child being in care, for                                           than reunification had two or
                     Subsequent FTMs after 12                                         reunification had two or more
                                                     those children with a goal                                           more FTMs after 12 months
     IV.B.19         months – Other than                                              FTMs after 12 months of                                                             Yes
                                                     other than reunification,                                            of placement. Monthly range
                     Reunification Goal                                               placement. Monthly range
                                                     90% shall have at least two                                          during July – December 2018
                                                                                      during January – June 2018
                                                     FTMs each year.                                                      monitoring period: 89 to
                                                                                      monitoring period: 91 to 98%.
                                                                                                                          97%.41



39 Monthly performance is as follows: July, 81%; August, 84%; September, 86%; October, 92%; November, 90%; December, 84%. Reported performance accounts for valid exceptions to the FTM
requirement. The Monitor and DCF jointly reviewed all 106 cases in which there was documentation of an exception to the FTM requirement and excluded from these data all instances (for each
month) in which they determined that an exception was appropriately used.
40 Monthly performance for this measure is as follows: July, 79%; August, 94%; September, 74%; October, 96%; November, 87%; December, 95%. Reported performance accounts for valid

exceptions to the FTM requirement. The Monitor and DCF jointly reviewed all 15 cases in which there was documentation of an exception to the FTM requirement and excluded from these data all
instances (for each month) in which they determined that an exception was appropriately used.
41 Monthly performance is as follows: July, 94%; August, 94%; September, 94%; October, 97%; November, 91%; December, 89%. Reported performance accounts for valid exceptions to the FTM

requirements. The Monitor and DCF jointly reviewed all 10 cases in which there was documentation of an exception to the FTM requirement and excluded from these data all instances (for each
month) in which they determined that an exception was appropriately used.
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                                                                         Table 1B: To Be Maintained

     SEP               Quantitative or               Sustainability and                     June 2018                        December 2018                    Requirement
   Reference         Qualitative Measure             Exit Plan Standard                   Performance31                      Performance32                Maintained (Yes/No)33

                                                                                   Needs Assessment




                                                    The state shall regularly
                                                    evaluate the need for
                                                                                    In March 2018, DCF
                                                    additional placements and
                                                                                    published the most recent
                                                    services to meet the needs
                                                                                    report, DCF Needs Assessment
                                                    of children in custody and                                          During the monitoring
                                                                                    2018 Report #3: Survey
                                                    their families and to                                               period, DCF made progress
                                                                                    Findings and Synthesis, that
                                                    support intact families and
                                                                                    evaluated the information           on its plan to fold the state’s
                                                    prevent the need for out-of-                                        Needs Assessment process
                                                                                    collected through surveys
                                                    home care. Such needs                                               into its Qualitative Review
                                                                                    conducted by Rutgers School
   IV.C.21          Needs Assessment                assessments shall be                                                and ChildStat processes and                Yes
                                                                                    of Social Work. DCF
                                                    conducted on an annual,                                             presentations.
                                                                                    leadership is determining how
                                                    staggered basis that assures
                                                                                    to utilize the findings to refine
                                                    that every county is
                                                                                    and improve its service array.
                                                    assessed at least once every
                                                                                    Going forward, DCF has
                                                    three years. The state shall
                                                                                    announced plans to redesign
                                                    develop placements and
                                                                                    the Needs Assessment
                                                    services consistent with the
                                                                                    process.
                                                    findings of these needs
                                                    assessments.




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                                                                            Table 1B: To Be Maintained

        SEP              Quantitative or               Sustainability and                    June 2018                       December 2018                  Requirement
      Reference        Qualitative Measure             Exit Plan Standard                  Performance31                     Performance32              Maintained (Yes/No)33

                                                                              Case and Service Planning

                                                                                                                        In December 2018, 94% of
                                                                                     In June 2018, 95% of children
                                                                                                                        children entering care had
                                                      95% of initial case plans      entering care had case plans
                                                                                                                        case plans developed within
                                                      for children and families      developed within 30 days.
      IV.D.22          Initial Case Plans                                                                               30 days. Monthly range                  Yes43
                                                      shall be completed within      Monthly range during January
                                                                                                                        during July – December 2018
                                                      30 days.                       – June 2018 monitoring
                                                                                                                        monitoring period: 92 to
                                                                                     period: 94 to 99%.
                                                                                                                        96%.42

                                                                                        Caseloads
                                                      95% of offices will have
                                                      sufficient supervisory staff   100% of Local Offices have         100% of Local Offices have
      III.B.2          Supervisor/Worker Ratio                                                                                                                   Yes
                                                      to maintain a 5 worker to 1    sufficient supervisory staff.      sufficient supervisory staff.
                                                      supervisor ratio.

                                                      95% of IAIU investigators
                                                      will have (a) no more than
                       IAIU Investigators                                            100% of IAIU investigators         100% of IAIU investigators
      III.B.3                                         12 open cases, and (b) no                                                                                  Yes
                       Caseload                                                      met caseload standards.            met caseload standards.
                                                      more than eight new case
                                                      assignments per month.

                                                      95% of Local Offices will
                                                      have average caseloads for
                                                      Permanency workers of (a)
                       Permanency Workers                                            100% of Local Offices met          100% of Local Offices met
      III.B.4                                         no more than 15 families,                                                                                  Yes
                       (Local Offices) Caseload                                      permanency standards.              permanency standards.
                                                      and (b) no more than 10
                                                      children in out-of-home
                                                      care.



42   Monthly performance for this measure is as follows: July, 96%; August, 92%; September, 94%; October, 95%; November, 95%; December, 94%.
43   The Monitor considers this to be a temporary decline in performance that is still within an acceptable range.
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                                                                               Table 1B: To Be Maintained

        SEP               Quantitative or                 Sustainability and                     June 2018                        December 2018               Requirement
      Reference         Qualitative Measure               Exit Plan Standard                   Performance31                      Performance32           Maintained (Yes/No)33

                                                        95% of Permanency
                                                        workers will have (a) no
                                                                                                                             100% of Permanency
                        Permanency Workers              more than 15 families, and       100% of Permanency workers
      III.B.5                                                                                                                workers met caseload                  Yes
                        Caseload                        (b) no more than 10              met caseload standards.
                                                                                                                             standards.44
                                                        children in out of home
                                                        care.

                                                        95% of Local Offices will
                                                        have average caseloads for
                        Intake workers (Local           Intake workers of no more        96% of Local Offices met            100% of Local Offices met
      IV.E.24                                                                                                                                                      Yes
                        Offices) Caseload               than 12 families and no          intake caseload standards.          intake caseload standards.
                                                        more than eight new case
                                                        assignments per month.

                                                        90% of individual Intake
                                                        workers shall have no more
                                                        than 12 open cases and no
                                                        more than eight new case
                                                        assignments per month. No        95% of Intake workers met           95% of Intake workers met
      IV.E.25           Intake workers Caseload                                                                                                                    Yes
                                                        Intake worker with 12 or         caseload standards.                 caseload standards.45
                                                        more open cases can be
                                                        given more than two
                                                        secondary assignments per
                                                        month.

                                                        95% of Local Offices will
                                                        have average caseloads for
                        Adoption Workers (Local                                          98% of Local Offices met            99% of Local Offices met
      IV.E.26                                           Adoption workers of no                                                                                     Yes
                        Offices) Caseload                                                adoption standards.                 adoption standards.
                                                        more than 15 children per
                                                        worker.



44   Reported performance is the average of DCF’s performance in meeting individual caseload standards during this six-month monitoring period.
45   Reported performance is the average of DCF’s performance in meeting individual caseload standards during this six-month monitoring period.
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                                                                             Table 1B: To Be Maintained

       SEP              Quantitative or                Sustainability and                      June 2018                        December 2018                    Requirement
     Reference        Qualitative Measure              Exit Plan Standard                    Performance31                      Performance32                Maintained (Yes/No)33

                                                      95% of individual
                     Adoption Workers                 Adoption worker caseloads       98% of Adoption workers met          98% of Adoption workers
     IV.E.27                                                                                                                                                          Yes
                     Caseload                         shall be no more than 15        caseload standards.                  met caseload standards.46
                                                      children per worker.

                                                                                         Case Plans

                                                                                      In June 2018, 98% of case            In December 2018, 96% of
                                                      95% of case plans for           plans were reviewed and              case plans were reviewed and
                                                      children and families will      modified as necessary at least       modified as necessary at least
                     Timeliness of Current
     III.C.6                                          be reviewed and modified        every six months. Monthly            every six months. Monthly                  Yes
                     Plans
                                                      no less frequently than         range during January – June          range during July –
                                                      every six months.               2018 monitoring period: 94 to        December 2018 monitoring
                                                                                      98%.                                 period: 95 to 97%.47

                                                                                Deputy Attorneys General

                                                      The state will maintain         135 (100%) of 135 staff              135 (100%) of 135 staff
                     Adequacy of DAsG                 adequate DAsG staff             positions filled with nine staff     positions filled with two staff
     III.D.7                                                                                                                                                          Yes
                     Staffing                         positions and keep              on leave; 126 (93%) available        on leave; 133 (99%)
                                                      positions filled.               DAsG.                                available DAsG.48


                                                                                    Child Health Units
                                                      The state will continue to
                                                      maintain its network of         As of June 30, 2018, DCF had         As of December 31, 2018,
                                                      Child Health Units,             172 Health Care Case                 DCF had 163 Health Care
     III.E.8         Child Health Units                                                                                    Case Managers and 84 staff                 Yes
                                                      adequately staffed by           Managers and 85 staff
                                                      nurses in each Local            assistants.                          assistants.
                                                      Office.


46 Reported performance is the average of DCF’s performance in meeting individual caseload standards during this six-month monitoring period.
47 Monthly performance for this measure is as follows: July, 96%; August, 95%; September, 95%; October, 97%; November, 96%; December, 96%.
48 DCF reported that during this monitoring period select DAsG outside of the DCF Practice Group have dedicated some of their time to DCF matters.


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                                                                            Table 1B: To Be Maintained

        SEP              Quantitative or               Sustainability and                    June 2018                       December 2018                Requirement
      Reference        Qualitative Measure             Exit Plan Standard                  Performance31                     Performance32            Maintained (Yes/No)33

                                                                                           Visits
                                                      60% of children in custody
                                                      with a return home goal
                                                      will have an in-person visit
                                                      with their parent(s) at least                                     In December 2018, 77% of
                                                                                      In June 2018, 79% of
                                                      weekly, excluding those                                           applicable children had
                                                                                      applicable children had
      IV.F.29                                         situations where a court                                          weekly visits with their
                       Parent-Child Visits –                                          weekly visits with their
                                                      order prohibits or regulates                                      parents. Monthly range                 Yes
                       Weekly                                                         parents. Monthly range during
                                                      visits or there is a                                              during July – December 2018
                                                                                      January – June 2018
                                                      supervisory approval of a                                         monitoring period: 76 to
                                                                                      monitoring period: 78 to 82%.
                                                      decision to cancel a visit                                        79%.49
                                                      because it is physically or
                                                      psychologically harmful to
                                                      a child.

                                                      85% of children in custody
                                                      will have an in-person visit
                                                      with their parent(s) or
                                                      legally responsible family
                                                                                                                        In December 2018, 91% of
                                                      member at least every           In June 2018, 92% of
                                                                                                                        applicable children had bi-
                                                      other week, excluding           applicable children had bi-
                                                                                                                        weekly visits with their
      IV.F.30          Parent-Child Visits – Bi-      those situations where a        weekly visits with their
                                                                                                                        parents. Monthly range                 Yes
                       Weekly                         court order prohibits or        parents. Monthly range during
                                                                                                                        during July – December 2018
                                                      regulates visits or there is    January – June 2018
                                                                                                                        monitoring period: 89 to
                                                      supervisory approval of a       monitoring period: 91 to 94%.
                                                                                                                        92%.50
                                                      decision to cancel a visit
                                                      because it is physically or
                                                      psychologically harmful to
                                                      a child.




49   Monthly performance for this measure is as follows: July, 79%; August, 79%; September, 77%; October, 79%; November, 76%; December, 77%.
50   Monthly performance for this measure is as follows: July, 92%; August, 92%; September, 91%; October, 92%; November, 89%; December, 91%.
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                                                                            Table 1B: To Be Maintained

        SEP              Quantitative or               Sustainability and                    June 2018                       December 2018                   Requirement
      Reference        Qualitative Measure             Exit Plan Standard                  Performance31                     Performance32               Maintained (Yes/No)33

                                                                                     In June 2018, 90% of children      In December 2018, 94% of
                                                      93% of children shall have
                                                                                     had two visits per month, one      children had two visits per
                                                      at least twice-per-month
                                                                                     of which was in the                month, one of which was in
                                                      face-to-face contact with
                       Caseworker Contacts with                                      placement, during the first two    the placement, during the
                                                      their caseworker within the
      III.F.9          Children – New                                                months of an initial or            first two months of an initial            Yes
                                                      first two months of
                       Placement/Placement                                           subsequent placement.              or subsequent placement.
                                                      placement, with at least
                       Change                                                        Monthly range during January       Monthly range during July –
                                                      one contact in the
                                                                                     – June 2018 monitoring             December 2018 monitoring
                                                      placement.
                                                                                     period: 90 to 96%.                 period: 89 to 94%.51



                                                                                                                        In December 2018, 94% of
                                                                                     In June 2018, 95% of children
                                                      During the remainder of                                           children had at least one
                                                                                     had at least one caseworker
      III.F.10                                        the placement, 93% of                                             caseworker visit per month in
                       Caseworker Contact with                                       visit per month in his/her
                                                      children shall have at least                                      his/her placement. Monthly                Yes
                       Children in Placement                                         placement. Monthly range
                                                      one caseworker visit per                                          range during July –
                                                                                     during January – June 2018
                                                      month, in the placement.                                          December 2018 monitoring
                                                                                     monitoring period: 95 to 97%.
                                                                                                                        period: 93 to 95%.52


                                                                                        Placement

                                                      At least 80% of siblings       76% of sibling groups of two       77% of sibling groups of two
                                                      groups of two or three         or more children entering          or three children entering
      IV.G.32          Placing Siblings Together                                                                                                                  No
                                                      children entering custody      custody in CY 2017 were            custody in CY 2018 were
                                                      will be placed together.       placed together.                   placed together.




51   Monthly performance for this measure is as follows: July, 93%; August, 93%; September, 92%; October, 94%; November, 89%; December, 94%.
52   Monthly performance for this measure is as follows: July, 95%; August, 95%; September, 94%; October, 94%; November, 93%; December, 94%.
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                                                                         Table 1B: To Be Maintained

     SEP               Quantitative or               Sustainability and                    June 2018                     December 2018                   Requirement
   Reference         Qualitative Measure             Exit Plan Standard                  Performance31                   Performance32               Maintained (Yes/No)33

                                                                                   Children entering custody in     Children entering custody in
                                                    All children will be placed    CY 2017 with three or more       CY 2018 with three or more
                    Placing Siblings Together
   IV.G.33                                          with at least one other        siblings were placed with at     siblings were placed with at              Yes
                    for Four or More Children
                                                    sibling 80% of the time.       least one other sibling 83% of   least one other sibling 86% of
                                                                                   the time.                        the time.


                                                                                   Between January and June         Between July and December
                                                                                   2018, DCF recruited a total of   2018, DCF recruited a total
                                                                                   23 new SIBS homes. As of         of 19 new SIBs homes. As of
                                                    DCF will continue to           June 2018, DCF had a total of    December 2018, DCF had a
                    Recruitment of Placements
                                                    recruit for resource homes     84 large capacity SIBS homes;    total of 73 large capacity
   IV.G.34          for Sibling Groups of Four                                                                                                                Yes
                                                    capable of serving sibling     20 homes that can                SIBS homes; 18 homes that
                    or More
                                                    groups of four or more.        accommodate five or more         can accommodate five or
                                                                                   children, and 64 homes that      more children and 55 homes
                                                                                   can accommodate four             that can accommodate four
                                                                                   children.                        children.



                                                    At least 84% of children
                                                    entering out-of-home           85% of children who entered      85% of children who entered
                                                    placement for the first time   out-of-home placement for the    out-of-home placement for
                    Placement Stability, First      in a calendar year will have   first time in CY 2016 had no     the first time in CY 2017 had
   IV.G.35                                                                                                                                                    Yes
                    12 Months in Care               no more than one               more than one placement          no more than one placement
                                                    placement change during        change during the 12 months      change during the 12 months
                                                    the 12 months following        following their date of entry.   following their date of entry.
                                                    their date of entry.




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                                                                              Table 1B: To Be Maintained

       SEP              Quantitative or                 Sustainability and                      June 2018                         December 2018                     Requirement
     Reference        Qualitative Measure               Exit Plan Standard                    Performance31                       Performance32                 Maintained (Yes/No)33


                                                      At least 88% of these
                                                                                       94% of children who entered          95% of children who entered
                                                      children will have no more
                                                                                       care in CY 2015 had no more          care in CY 2016 had no more
                     Placement Stability, 13 –        than one placement change
     IV.G.36                                                                           than one placement change            than one placement change                         Yes
                     24 Months in Care                during the 13-24 months
                                                                                       during the 13-24 months              during the 13-24 months
                                                      following their date of
                                                                                       following their date of entry.       following their date of entry.
                                                      entry.


                                                                                           Education
                                                      80% of cases will be rated
                                                      acceptable as measured by
                                                      the QR in stability (school)
                                                                                       86% of cases rated acceptable        83% of cases rated
                                                      and learning and
                                                                                       for both QR indicators               acceptable for both QR
                                                      development. The Monitor,
     III.G.11        Educational Needs                                                 stability in school and              indicators stability in school                    Yes
                                                      in consultation with the
                                                                                       learning and development (CY         and learning and
                                                      parties, shall determine the
                                                                                       2017).                               development (CY 2018).53,54
                                                      standards for school
                                                      stability and quality
                                                      learning and development.

                                                                                        Maltreatment
                                                      No more than 0.49% of
                                                                                       For CY 2017, 0.24% of                For CY 2018, 0.27% of
                                                      children will be victims of
                                                                                       children were victims of             children were victims of
                     Abuse and Neglect of             substantiated abuse or
     III.H.12                                                                          substantiated abuse or neglect       substantiated abuse or neglect                    Yes
                     Children in Foster Care          neglect by a resource
                                                                                       by a resource parent or facility     by a resource parent or
                                                      parent or facility staff
                                                                                       staff member.                        facility staff member.
                                                      member.



53 From January to December 2018, 83% (67 out of 81) of applicable cases reviewed rated acceptable for both stability in school and learning and development, age 5 and older indicators; 91% (86 of
94) of cases were rated acceptable for stability in school; 91% (77 of 85) of cases were rated acceptable for learning and development, age 5 and older.
54 All in-home cases are excluded from this measure.


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                                                                                Table 1B: To Be Maintained

       SEP              Quantitative or                  Sustainability and                       June 2018                          December 2018                      Requirement
     Reference        Qualitative Measure                Exit Plan Standard                     Performance31                        Performance32                  Maintained (Yes/No)33

                                                        No more than 7.2% of              6.5% of children who                 5% of children who remained
                                                        children who remain at            remained at home after a             at home after a substantiation
                      Repeat Maltreatment (In-          home after a substantiation       substantiation of abuse or           of abuse or neglect in CY
     IV.H.37                                                                                                                                                                      Yes
                      home)                             of abuse or neglect will          neglect in CY 2016 had               2017 had another
                                                        have another substantiation       another substantiation within        substantiation within the next
                                                        within the next 12 months.        the next 12 months.                  12 months.

                                                        Of all children who enter
                                                        foster care in a 12-month         6.4% of children who entered         5.9% of children who entered
                                                        period for the first time         foster care for the first time in    foster care for the first time
                                                        who are discharged within         CY 2014 and were discharged          in CY 2015 and were
                      Maltreatment Post-                24 months to reunification        within 24 months to                  discharged within 24 months
     IV.H.38                                                                                                                                                                      Yes
                      Reunification                     or living with a relative(s),     reunification or living with         to reunification or living with
                                                        no more than 6.9% will be         relative(s) were the victims of      relative(s) were the victims
                                                        the victims of abuse or           abuse or neglect within 12           of abuse or neglect within 12
                                                        neglect within 12 months          months of their discharge.           months of their discharge.
                                                        of their discharge.

                                                                                           Permanency
                                                        Of all children who enter
                                                        foster care in a 12-month         43% of children who entered          41% of children who entered
                                                        period, at least 42% will be      foster care in CY 2016 were          foster care in CY 2017 were
                                                        discharged to permanency          discharged to permanency             discharged to permanency
                      Permanency within 12
     IV.I.40                                            (reunification, living with       (reunification, living with          (reunification, living with                       Yes56
                      Months
                                                        relatives, guardianship or        relatives, guardianship or           relatives, guardianship or
                                                        adoption) within 12               adoption) within 12 months of        adoption) within 12 months
                                                        months of entering foster         entering foster care.55              of entering foster care.
                                                        care.




55 This data reflects an adjustment of historical data to include those in the entry cohort who were discharged to permanency between the ages of 18 and 21. DCF provided these data for the first time
this monitoring period, and the Monitor has not independently verified it, but has included it here, which shows a higher level of performance than has been reported in prior monitoring periods.
56 The Monitor considers this to be a temporary decline in performance that is still within an acceptable range.


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                                                                                Table 1B: To Be Maintained

       SEP              Quantitative or                  Sustainability and                       June 2018                          December 2018                      Requirement
     Reference        Qualitative Measure                Exit Plan Standard                     Performance31                        Performance32                  Maintained (Yes/No)33

                                                        Of all children who enter
                                                        foster care in a 12-month          81% of children who entered         81% of children who entered
                                                        period, at least 80% will be       foster care in CY 2014 were         foster care in CY 2015 were
                                                        discharged to permanency            discharged to permanency           discharged to permanency
                      Permanency Within 36
     IV.I.42                                            (reunification, living with         (reunification, living with        (reunification, living with                        Yes
                      Months
                                                        relatives, guardianship or           relatives, guardianship or        relatives, guardianship or
                                                        adoption) within 36               adoption) within 36 months of        adoption) within 36 months
                                                        months of entering foster              entering foster care.57         of entering foster care.
                                                        care.

                                                        Of all children who enter
                                                        foster care in a 12-month        88% of children who entered           89% of children who entered
                                                        period, at least 86% will be     foster care in CY 2013 were           foster care in CY 2014 were
                                                        discharged to permanency         discharged to permanency              discharged to permanency
                      Permanency Within 48
     IV.I.43                                            (reunification, living with      (reunification, living with           (reunification, living with                        Yes
                      Months
                                                        relatives, guardianship or       relatives, guardianship or            relatives, guardianship or
                                                        adoption) within 48              adoption) within 48 months of         adoption) within 48 months
                                                        months of entering foster        entering foster care.58               of entering foster care.
                                                        care.

                                                                                           Older Youth
                                                                                         In June 2018, 91% of                  In December 2018, 86% of
                                                                                         applicable children had               applicable children had
                                                        90% of youth age 14 to18         completed an Independent              completed an Independent
                      Independent Living
     IV.K.45                                            have an Independent              Living Assessment. Monthly            Living Assessment. Monthly                        Yes60
                      Assessments
                                                        Living Assessment.               range during January – June           range during July –
                                                                                         2018 monitoring period: 91 to         December 2018 monitoring
                                                                                         94%.                                  period: 86 to 90%.59



57 This data reflects an adjustment of historical data to include those in the entry cohort who were discharged to permanency between the ages of 18 and 21. DCF provided these data for the first time
this monitoring period, and the Monitor has not independently verified it, but has included it here, which shows a higher level of performance than has been reported in prior monitoring periods.
58 Ibid.
59 Monthly performance for this measure is as follows: July, 90%; August, 88%; September, 88%; October, 89%; November, 89%; December, 86%.
60 The Monitor considers this to be a temporary decline in performance that is still within an acceptable range.


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                                                                                 Table 1B: To Be Maintained

       SEP               Quantitative or                  Sustainability and                        June 2018                          December 2018                       Requirement
     Reference         Qualitative Measure                Exit Plan Standard                      Performance31                        Performance32                   Maintained (Yes/No)33
                                                        75% of youth age 18 to 21                                                70% of cases rated
                                                                                           74% of cases rated acceptable
                                                        who have not achieved                                                    acceptable for both QR
                                                                                           for both QR indicators child
                      Quality of Case Planning          legal permanency shall                                                   indicators child
     IV.K.46                                                                               (youth)/family status and                                                                Yes62
                      and Services                      receive acceptable quality                                               (youth)/family status and
                                                                                           overall practice performance
                                                        case management and                                                      overall practice performance
                                                                                           (CY 2017).
                                                        service planning.                                                        (CY 2018).61
                                                                                           88% of youth exiting care             96% of youth exiting care
                                                        95% of youth exiting care          between January and June              between July and December
                                                        without achieving                  2018 without achieving                2018 without achieving
     IV.K.47          Housing                                                                                                                                                        Yes
                                                        permanency shall have              permanency had                        permanency had
                                                        housing.                           documentation of a housing            documentation of a housing
                                                                                           plan upon exiting care.               plan upon exiting care.63
                                                        90% of youth exiting care          80% of youth exiting care             89% of youth exiting care
                                                        without achieving                  between January and June              between July and December
                                                        permanency shall be                2018 without achieving                2018 without achieving
                                                        employed, enrolled in or           permanency were either                permanency were either
                                                        have recently completed a          employed or enrolled in               employed or enrolled in
     IV.K.48          Employment/Education              training or an educational         education or vocational               education or vocational                            Yes65
                                                        program or there is                training programs or there was        training programs or there
                                                        documented evidence of             documented evidence of                was documented evidence of
                                                        consistent efforts to help         consistent efforts to help the        consistent efforts to help the
                                                        the youth secure                   youth secure employment or            youth secure employment or
                                                        employment or training.            training.                             training.64




61 From January to December 2018, 70% (30 of 43) cases reviewed rated acceptable for both child (youth)/family status and overall practice performance indicators. 84% (36 of 43) of cases were
rated acceptable for child (youth/family) status; and 74% (32 of 43) of cases were rated acceptable for overall practice performance.
62 Given that the universe of cases to which this measure applies is small, making fluctuations more likely, the Monitor considers this to be a temporary decline in performance that is still within an

acceptable range. The Monitor will continue to carefully track these data to determine if this decline in performance is temporary and/or insubstantial.
63 Six youth out of the universe of 61 youth exiting care to non-permanency were excluded from consideration because two youth could not be located and four were incarcerated. The universe of

cases to which this measure applies is small, making fluctuations more likely.
64 Eight youth out of the universe of 61 youth exiting care to non-permanency were excluded from consideration because they could not be located, were incarcerated, or moved out of state. Seven

additional youth were considered to have met the standard because there was documentation of consistent efforts by the caseworker to help secure education or employment.
65 The universe of cases to which this measure applies is small, making fluctuations more likely.


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                                                                      Table 1C: Foundational Elements
                                            Additional SEP Requirements that                                                                        December 2017 Fulfilled
          SEP Reference                                                                                              Data Source
                                                   DCF Must Sustain:                                                                                      (Yes/No)


                                                                                                    Data provided directly to the Monitor and
                                                                                                    published by DCF in reports and on its
                                         DCF will continue to maintain a case                       website.66
                                         management information and data collections
 A. Data Transparency                    system that allows for the assessment, tracking,           NJ SPIRIT functionality is routinely assessed             Yes
                                         posting or web-based publishing and utilization            by the Monitor’s use of NJ SPIRIT data for
                                         of key data indicators.                                    validation and through use of SafeMeasures,
                                                                                                    as well as in conducting case inquiries and
                                                                                                    case record reviews.



                                         Implement and sustain a Case Practice Model


                                         Quality investigation and assessment


                                         Safety and risk assessment and risk reassessment           QR Data

                                                                                                    Monitor site visits and attendance at QRs,
                                         Engagement with youth and families                         ChildStat and other meetings
 B. Case Practice Model                                                                             Investigation case record review
                                                                                                                                                              Yes
                                         Working with family teams
                                                                                                    Data provided directly to the Monitor
                                         Individualized planning and relevant services              Our Work with Children, Youth and Families
                                                                                                    Report
                                         Safe and sustained transition from DCF


                                         Continuous review and adaptations



66   Please see list of reports in Section I (Introduction: Monitoring Methodology) to review data sources for this Foundational Element.
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                                                                 Table 1C: Foundational Elements
                                       Additional SEP Requirements that                                                               December 2017 Fulfilled
       SEP Reference                                                                                   Data Source
                                              DCF Must Sustain:                                                                             (Yes/No)

                                    Received by the field in a timely manner            Commissioner’s Monthly Report
 C. State Central                                                                       Monitor site visit with SCR staff                       Yes
 Registry
                                    Investigation commenced within required
                                    response time                                       Screening and Investigations Monthly Report

                                                                                        QR data

                                                                                        Monitor site visits and attendance at QRs,
                                                                                        ChildStat and other meetings
                                    Appropriate placements of children
                                                                                        Data provided directly to the Monitor

                                                                                        Our Work with Children, Youth and Families
                                                                                        Report
                                                                                        Commissioner’s Monthly Report
                                    Resource family homes licensed and closed
                                    (kinship/non-kinship)
                                                                                        Data provided directly to the Monitor
                                    Number of children in home/out of home
                                                                                        NJ Rutgers Data Portal
                                    demographic data
 D. Appropriate
                                    Placed in a family setting                          Commissioner’s Monthly Report                           Yes
 Placements
                                                                                        Data provided directly to the Monitor
                                    Placement proximity
                                                                                        Our Work with Children, Youth and Families
                                                                                        Report

                                                                                        Commissioner’s Monthly Report
                                    No children under 13 years old in shelters
                                                                                        Data provided directly to the Monitor

                                                                                        Commissioner’s Monthly Report
                                    Children over 13 in shelters no more than 30 days
                                                                                        Data provided directly to the Monitor

                                    No behavioral health placements out of state
                                                                                        Commissioner’s Monthly Report
                                    without approval

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                                                                   Table 1C: Foundational Elements
                                           Additional SEP Requirements that                                                              December 2017 Fulfilled
          SEP Reference                                                                                    Data Source
                                                  DCF Must Sustain:                                                                            (Yes/No)
                                                                                            CP&P Needs Assessment

                                                                                            Data provided directly to the Monitor
                                        Adequate number of resource placements
                                                                                            Our Work with Children, Youth and Families
                                                                                            Report

                                                                                            New Jersey Youth Resource Spot67

                                                                                            New Jersey DCF Adolescent Services
                                        Services for youth age 18-21, LGBTQI, mental        Website68
                                        health and domestic violence for birth parents
                                        with families involved with the child welfare       Data provided directly to the Monitor
                                        system
                                                                                            Attendance at Adolescent Practice Forums

                                                                                            CP&P Needs Assessment


 E. Service Array                                                                                                                                  Yes
                                        Preventive home visit programs                      Commissioner’s Monthly Report




                                                                                            Commissioner’s Monthly Report

                                                                                            Monitor site visits and attendance at QRs,
                                        Family Success Centers
                                                                                            ChildStat and other meetings

                                                                                            Data provided directly to the Monitor




67   New Jersey’s Youth Resource Spot can be found at www.NJYRS.org.
68   DCF’s Adolescent Services Website can be found at http://www.nj.gov/dcf/adolescent/.
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                                                               Table 1C: Foundational Elements
                                       Additional SEP Requirements that                                                    December 2017 Fulfilled
       SEP Reference                                                                             Data Source
                                              DCF Must Sustain:                                                                  (Yes/No)
                                    Appropriate medical assessment and treatment


                                    Pre-placement and entry medical assessments

                                                                                   Healthcare of Children in Out-of-Home
                                    Dental examinations                            Placement Report
 F. Medical and
                                                                                   Data provided directly to the Monitor
 Behavioral Health                  Immunizations                                                                                    Yes
 Services                                                                          Commissioner’s Monthly Report
                                    Follow-up care and treatment
                                                                                   CIACC Monthly Report

                                    Mental health assessment and treatment


                                    Behavioral health


                                    Pre-service training


                                    Case practice model


                                    Permanency planning                            Data provided directly to the Monitor
 G. Training                                                                                                                         Yes
                                    Concurrent planning                            Workforce Report


                                    Adoption


                                    Demonstration of competency




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                                                                  Table 1C: Foundational Elements
                                         Additional SEP Requirements that                                                                                 December 2017 Fulfilled
       SEP Reference                                                                                           Data Source
                                                DCF Must Sustain:                                                                                               (Yes/No)

                                      DCF will continue to make flexible funds
                                      available for use by workers in crafting
                                      individualized service plans for children, youth         Data provided directly to the Monitor
                                      and families to meet the needs of children and
 H. Flexible Funding                  families, to facilitate family preservation and          DCF Online Policy Manual                                                 Yes
                                      reunification where appropriate and to ensure that
                                      families are able to provide appropriate care for        Budget Report
                                      children and to avoid the disruption of otherwise
                                      stable and appropriate placements.


                                                                                               DCF Online Policy Manual
                                      Family care support rates
 I. Resource Family                                                                            DCF Website69                                                            Yes
 Care Support Rates
                                      Independent Living Stipend
                                                                                               New Jersey Youth Resource Spot
                                                                                               Data provided directly to the Monitor
                                      Permanency practices
                                                                                               Our Work with Children, Youth and Families
 J. Permanency                                                                                 Report                                                                   Yes

                                      Adoption practices                                       Monitor site visits and attendance at QRs,
                                                                                               ChildStat and other meetings

                                                                                               Adoption Report
 K. Adoption Practice                 5- and 10-month placement reviews
                                                                                               Monitor site visits and attendance at QRs,                               Yes
                                                                                               ChildStat and other meetings




69USDA has altered its schedule for producing its Annual Report on costs of raising a child. By agreement, DCF now updates the rates within 30 days of the USDA annual report’s release to meet the
SEP standards and provides written confirmation to the Monitor.
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  IV.      FOUNDATIONAL ELEMENTS

  The Sustainability and Exit Plan (SEP) identifies a series of core organizational and practice
  improvements known as the “Foundational Elements” that became the groundwork upon which
  New Jersey’s reform has been built. They include a range of requirements from the 2006
  Modified Settlement Agreement (MSA) that were previously met and were codified in the SEP
  as foundational for improved child welfare outcomes and future system improvements. These
  Foundational Elements remain enforceable in the SEP if performance is not sustained. The
  Department of Children and Families (DCF) collects and publishes data to support its continued
  maintenance of Foundational Elements.

  As part of its commitment to be a transparent, self-monitoring organization, beginning in July
  2019, DCF plans to publish an annual report that will include a comprehensive analysis of
  agency processes, current initiatives, procedures, quality of practice and performance on key
  outcomes. In addition to producing these reports, DCF continued to provide data directly to the
  Monitor for the period July 1 to December 31, 2018 wherever necessary to assess the
  Foundational Elements. The Monitor also continues to assess maintenance of Foundational
  Elements through its participation in statewide Qualitative Reviews (QRs), site visits to Local
  Offices, Area Directors meetings, attendance at monthly ChildStat presentations, telephone
  surveys with workers and meetings with stakeholders throughout the state.

  In the Monitor’s judgment, each of the SEP’s Foundational Elements has been maintained
  during this period. The sections below provide information on new developments, significant
  accomplishments or other information determined by the Monitor to be relevant for its
  assessment and understanding of the Foundational Elements.

        A. CASE PRACTICE MODEL – SEP Section II.B

  Section II.B of the SEP requires that “DCF will continue to implement and sustain a Case
  Practice Model that…emphasizes quality investigation and assessment, including safety and risk
  assessment and reassessment, and engagement with youth and families; working with family
  teams; individualized planning and relevant services; continuous review and adaptation; and safe
  and sustained transition from DCF.”

  DCF’s attention to the quality of case practice as guided by New Jersey’s Case Practice Model
  (CPM) continued this period. Between July and December 2018, DCF’s Case Practice Liaisons
  (CPLs) worked with staff at all levels to develop and fine-tune the skills necessary to best serve
  children, youth and families. Statewide Local Office managers meet quarterly to discuss and
  improve upon supervision, documentation, and other areas needing oversight and support.
  During the monitoring period DCF also continued to refine its Structured Decision-Making
  (SDM™) tools and developed a “train the trainer” series on SDM™ for the Office of Training
  and Professional Development and Rutgers University trainers. The expectation is that the
  revised SDM™ tools will be deployed in late summer or early fall 2019.

  In September 2018, DCF convened a one-day symposium, Safe, Healthy and Connected: New
  Jersey Child Welfare in the 21st century, as well as three regional forums with the same theme in


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  the following months, in partnership with Advocates for Children of New Jersey (ACNJ).
  Discussions with community partners, staff, and other stakeholders at these forums related to
  envisioning a child welfare system that strengthens families, prevents childhood trauma, and
  focuses on achieving well-being for children and families, not just physical safety. DCF is
  hosting additional regional forums in the following monitoring period.

      B. APPROPRIATE PLACEMENTS – SEP Section II.D

  Section II.D of the SEP provides that “when out-of-home placement is necessary, DCF will
  provide the most appropriate and least restrictive placements, allowing children to remain in their
  own communities, be placed with or maintain contact with siblings and relatives and have their
  educational needs met. The State shall maintain an adequate number and array of family-based
  placements to appropriately place children in family settings.”

  Appropriate Placements and Services

  DCF continues to maintain a solid pool of resource homes and group settings to meet the needs of
  children in out-of-home care. As of December 31, 2018, 5,586 children were in out-of-home
  placement (468 fewer than at the end of June 2018), of which 5,255 were children between the
  ages of birth and 17, and 331 were between the ages of 18 and 21. DCF’s progress in reducing the
  number of children overall in foster care is a reflection of the continued work occurring to provide
  services to children and families in their homes and communities.

  Of the 5,586 children, 5,053 (90%) were placed in family-like settings: 2,965 children (53%) in
  non-kinship resource family homes, and 2,088 children (37%) in kinship homes. For those in non-
  family settings, 441 children (8%) were placed in group and residential settings facilities and 92
  children (2%) were in independent living programs.

  Between July and December 2018, DCF licensed 612 new kinship and non-kinship resource
  family homes; of these newly licensed resource family homes, 359 (59%) were kinship homes
  and 253 (41%) were non-kinship homes. As of December 31, 2018 there were a total of 4,086
  licensed resource family homes in the state, with a total bed capacity for 8,946 children. Of the
  total number of resource family homes, 1,289 were kin homes and 2,797 were non-kin homes.
  DCF’s focus has been on identifying and recruiting more kinship homes, homes for large sibling
  groups, and for adolescents, as described further in Section V.F. As of December 31, 2018, there
  were a total of 73 large capacity Siblings in Best Placement Settings (SIBS) homes: 18 homes
  with a capacity to accommodate five or more children and 55 homes that could accommodate
  four children.




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      C. SERVICE ARRAY – SEP Section II.E


  Section II.E of the SEP requires the state to provide comprehensive, culturally responsive
  services to address the identified needs of the children, youth and families, and maintain an
  adequate statewide network of Family Success Centers (FSCs). These services are to include, but
  not be limited to, services for youth age 18 to 21, LGBTQI youth, birth parents who may need
  mental health or domestic violence supports and preventive home visiting programs. DCF has
  been engaged in assessing and fine-tuning services available through DCF and its partners to
  include a focus on programs that have an evidence base of effectiveness. A few of the more
  recent improvements are highlighted below.

  In July 2018, DCF’s division of Child Protection and Permanency (CP&P), along with the
  Children’s System of Care (CSOC) and a private provider launched Family Functional Therapy
  for Foster Care (FFT-FC) in Cumberland, Gloucester and Salem counties. FFT-FC is an
  evidence-based, trauma-informed model of care aimed at supporting youth and their families in
  overcoming individual and relational trauma to achieve placement stability and long-term
  permanency. The FFT-FC treatment team trained 32 resource parents in 21 licensed FFT-FC
  resource homes. Of the 24 youth admitted into the program, 21 remained stable in their resource
  homes. DCF plans to expand the program in these three counties by training additional resource
  caregivers so as to enroll additional youth.

  Between July and December 2018, the Office of Adolescent Services (OAS) continued to
  implement the Pathways to Academic and Career Exploration to Success (PACES) program
  statewide, aimed at supporting current and former foster youth’s academic and career goals. The
  target population for this program is youth age 16-21 who are eligible for NJ Foster Care
  Scholars in order to promote college and career readiness. Piloted in September 2017, there are
  now six PACES programs serving almost 500 youth.

  Since the beginning of New Jersey’s reform efforts, DCF has expanded its use of Family Success
  Centers (FSCs) as one its core strategies to support children and youth in their communities.
  FSCs are neighborhood-based centers where families can access services and supports prior to
  crisis. Between July and December, 2018 DCF opened the Skyway Family Success Center in
  Jersey City; New Jersey now has a total of 57 operational Family Success Centers. In CY 2018,
  over 31,000 families were served by FSCs, providing a network of resources to support families
  and prevent problems that can escalate into requiring child protective services interventions.

  DCF has also initiated work to address the needs to provide services that are responsive to needs
  of specific populations. In the spring of 2018, DCF began providing all staff – starting with
  leadership – with a two-day mandatory training entitled “Cultural Competency LGBTQI:
  Understanding Diversity in Sexual Orientation, Gender Identity and Gender Expression.” This
  training continued throughout this monitoring period.




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  V. SUSTAINABILITY AND EXIT PLAN PERFORMANCE MEASURES TO BE
     ACHIEVED AND TO BE MAINTAINED

  This section of the report provides information on the Sustainability and Exit Plan (SEP)
  requirements that the state is focusing on achieving – designated as Outcomes To Be Achieved –
  and those requirements for which the state has satisfied the specified performance targets for at
  least six months and must sustain – designated as Outcomes To Be Maintained.

       A. INVESTIGATIONS

  The SEP includes four performance measures related to investigative practice, all of which have
  been designated as Outcomes To Be Maintained as of July 2018. They are: quality of
  investigations (SEP IV.A.15), timeliness of Institutional Abuse Investigations Unit (IAIU)
  investigation completion (SEP III.A.1); timeliness of alleged child abuse and neglect
  investigation completion within 60 days (SEP IV.A.13); and investigation completion within 90
  days (SEP IV.A.14). Performance for all four measures during the current monitoring period are
  discussed below.

                                      Timeliness of Investigation Completion

   Quantitative or                   13. Timeliness of Investigation Completion: Investigations of alleged child abuse
   Qualitative Measure                   and neglect shall be completed within 60 days.

                                    85% of all abuse/neglect investigations shall be completed within 60 days. Cases
   Performance Target               with documented acceptable extensions in accordance with policy are considered
                                    compliant.



  Performance as of November 30, 2018:70

  In November 2018, there were 4,608 investigations of alleged child abuse and neglect, 3,734
  (81%) of which were completed within 60 days. Performance from June to November 2018
  ranged from a low of 81 percent to a high of 85 percent.71 The Monitor considers DCF to have
  met this measure and will continue to carefully follow performance on timely completion of
  investigations within 60 days.




  70 December 2018 data will be included in the next monitoring report. For certain data elements that have an extended time frame
  built into the measurement, the Monitor and DCF decided to alter the period for data review so that six month monitoring reports
  can be produced more closely to the end of the monitoring period.
  71 Monthly performance for this measure is as follows: June, 83%; July, 83%; August, 85%; September, 84%; October, 83%;

  November, 81%.

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   Quantitative or                  14. Timeliness of Investigation Completion: Investigations of alleged child abuse
   Qualitative Measure                  and neglect shall be completed within 90 days.

                                    95% of all abuse/neglect investigations shall be completed within 90 days. Cases
   Performance Target               with documented acceptable extensions in accordance with policy are considered
                                    compliant.

  Performance as of November 30, 2018:72

  In November 2018, 4,327 (94%) of the 4,608 investigations of child abuse and neglect were
  completed within 90 days. Performance from June to November 2018 ranged from a low of 93
  percent to a high of 95 percent. The Monitor considers this to be an insubstantial decline. DCF
  continues to meet the SEP performance standard for the timeliness of investigation completion
  within 90 days.

                                                Quality of Investigations

   Quantitative or                  15. Quality of Investigations: Investigations of alleged child abuse and neglect
   Qualitative Measure                  shall meet standards of quality.

   Performance Target                85% of all abuse/neglect investigations shall meet standards of quality.



  The quality of investigations review is typically conducted every two years. In March 2018,
  DCF, together with the Monitor, conducted a case record review of the quality of CP&P’s
  investigative practice. Reviewers examined the quality of practice of a statistically valid random
  sample of selected Child Protective Services (CPS) investigations assigned to DCF Local Offices
  between October 1 and October 14, 2017, involving 331 investigations and 518 alleged child
  victims.73 Overall, reviewers found that 301 (91%) of the investigations were of acceptable
  quality.74

  The Monitor anticipates conducting another case record review in collaboration with DCF on the
  quality of investigations in 2020.




  72 December 2018 data will be included in the next monitoring report. For certain data elements that have an extended time
  frame built into the measurement, the Monitor and DCF decided to alter the period for data review so that six-month monitoring
  reports can be produced more closely to the end of the monitoring period.
  73 These results have a ± 5% margin of error with 95% confidence.
  74 Reviewers could select four possible responses to the question regarding the quality of the investigation: “completely,”

  “substantially,” “marginally” or “not at all.” Investigations determined to be “completely” or “substantially” of quality were
  considered acceptable for the purpose of this measure.

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                                        Institutional Abuse Investigations Unit

   Quantitative or                     1.   Timeliness of Completion: IAIU investigations of child maltreatment in
   Qualitative Measure                      placements shall be completed within 60 days.

   Performance Target                 80% of IAIU investigations shall be completed within 60 days.



  The IAIU is responsible for investigating allegations of child abuse and neglect in resource
  family homes and other out-of-home care settings, as well as in child care facilities, detention
  centers, schools and residential facilities.75

  Performance as of December 31, 2018:

  Performance data for July through December 2018 show that DCF continued to exceed the SEP
  performance standard for this measure. In December 2018, 82 percent of IAIU investigations
  were completed within 60 days.




  75   CP&P Policy Manual (4-1-2013). Introduction to IAIU, I, A, 100.

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       B. FAMILY TEAM MEETINGS

  Family Team Meetings (FTMs) bring families, providers, formal and informal supports together
  to exchange information, participate in case planning, coordinate and follow up on services and
  examine and solve problems. Meetings are intended to be scheduled according to the family’s
  availability in an effort to involve as many family members and supports as possible. Workers
  are trained and coached to hold FTMs at key decision and transition points in the life of a case,
  such as when a child enters placement, when a child has a change in placement and/or when
  there is a need to adjust a case plan to achieve permanency or meet a child’s needs.

  The SEP includes five performance measures pertaining to FTMs, four of which had been met
  and designated as Outcomes To Be Maintained: the requirements that FTMs be held within 45
  days of a child’s removal (SEP IV.B.16); that for children in out-of-home placement, at least
  three additional FTMs after the initial FTM be held within the first 12 months of placement (SEP
  IV.B.17); that children with the goal of reunification have at least three FTMs each year after the
  first 12 months of placement (SEP IV.B.18); and that children with a goal other than
  reunification have at least two FTMs each year after the first 12 months of placement (SEP
  IV.B.19). The remaining Outcome To Be Achieved is Quality of Teaming (SEP IV.B.20), which
  is measured by the Qualitative Review (QR) process on an annual basis. Performance for all five
  measures during the current monitoring period are discussed below.

                                   Initial FTMs Held within 45 Days of Entry

   Quantitative or                  16. Initial Family Team Meetings: For children newly entering placement, the
   Qualitative Measure                  number/percent who have a family team meeting within 45 days of entry.
                                    80% of children newly entering placement shall have a family team meeting before
   Performance Target               or within 45 days of placement.


  Performance as of December 31, 2018:
  In December 2018, 149 (95%) out of 157 possible FTMs occurred within 45 days of a child’s
  removal from home. Performance from July 1 to December 31, 2018 ranged from a low of 74
  percent to a high of 95 percent.76 For this measure, the Monitor and DCF jointly verified monthly
  data from NJ SPIRIT for the 79 applicable cases to determine whether exceptions to FTM policy
  were appropriately applied and documented.77 For the second time this monitoring period, DCF
  took a primary role in this data validation process.

  DCF’s performance exceeded the SEP standard in all but one month of the monitoring period.




  76 Monthly performance for this measure is as follows: July, 74%; August, 82%; September, 88%; October, 82%; November,
  86%; December, 95%. Reported performance accounts for valid exceptions to the FTM requirement.
  77 Based on a joint review with DCF of all 79 cases, the Monitor excluded valid exceptions to the FTM requirement from the

  universe of cases. For example, in December 2018, there were 162 children newly entering placement. The Monitor and DCF
  determined that in five cases, the worker had appropriately determined that the parent declined the FTM or was otherwise
  unavailable. The Monitor excluded those cases, making the universe of applicable cases 157 children.

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                                       FTMs Held within the First 12 Months

                                    17. Subsequent Family Team Meetings within 12 Months: For all other children in
   Quantitative or                      placement, the number/percent who have three additional FTMs within the
   Qualitative Measure                  first 12 months of the child coming into placement.
                                    80% of children will have three additional FTMs within the first 12 months of the
   Performance Target               child coming to placement.


  Performance as of December 31, 2018:78

  In December 2018, 124 (84%) of 148 applicable children had an additional three or more FTMs
  within the first 12 months of entering placement. Performance from July 1 to December 31, 2018
  ranged from a low of 81 percent to a high of 92 percent.79 For this measure, the Monitor and
  DCF jointly verified monthly data from NJ SPIRIT for the 106 applicable cases to determine
  whether exceptions to FTM policy were appropriately applied and documented.80 For the second
  time this monitoring period, DCF took a primary role in this data validation process.

  DCF’s performance exceeded the SEP standard in each month this monitoring period.

                FTMs Held After 12 Months in Placement with a Goal of Reunification

   Quantitative or                  18. Subsequent Family Team Meetings after 12 Months: For all children in
   Qualitative Measure                  placement with a goal of reunification, the number/percent who have at least
                                        three FTMs each year after the first 12 months of placement.
   Performance Target               After the first 12 months of a child being in care, 90% of those with a goal of
                                    reunification will have at least three FTMs each year.

  Performance as of December 31, 2018:81

  In December 2018, 21 (95%) of 22 applicable children with a permanency goal of reunification
  had three or more FTMs in the 12 months following their first year in out-of-home placement.
  Performance from July 1 to December 31, 2018 ranged from a low of 74 percent to a high of 96
  percent.82 For this measure, the Monitor and DCF jointly verified monthly data from NJ SPIRIT



  78 Measure 17 applies to all children who have been in out-of-home placement for 12 months who entered care in the specified
  month. For example, performance for December 2018 is based upon the 159 children who entered care in December 2017.
  Compliance is based on whether at least three FTMs were held for these children during the 12-month period they were in care.
  79 Monthly performance is as follows: July, 81%; August, 84%; September, 86%; October, 92%; November, 90%; December,

  84%. Reported performance accounts for valid exceptions to the FTM requirement.
  80
     Based on a joint review of all 106 cases, the Monitor excluded valid exceptions to the FTM requirement from the universe of
  cases. For example, in December 2018, there were 159 children who had been in out-of-home placement for 12 months. The
  Monitor and DCF determined that in 11 cases, the worker had appropriately determined that the parent declined the FTM or was
  otherwise unavailable. The Monitor excluded those cases, making the universe of applicable cases 148 children.
  81 Measure 18 applies to all children who have been in care for at least 24 months who entered care in the specified month each

  year and have a goal of reunification. For example, in December 2018, a combined total of 22 children who entered care in
  December 2015, December 2014, December 2013, etc. and were still in placement with a goal of reunification. Compliance is
  based on whether at least three FTMs were held for these children during their most recent 12 months in care.
  82 Monthly performance for this measure is as follows: July, 79%; August, 94%; September, 74%; October, 96%; November,

  87%; December, 95%. Reported performance accounts for valid exceptions to the FTM requirement.

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  for the 15 applicable cases to determine whether exceptions to FTM policy were appropriately
  applied and documented.83 DCF took a primary role in this data validation process.

  DCF’s performance exceeds the SEP standard in three of six months during the monitoring
  period, and remained close to the standard in the other months. Given that the universe of cases
  to which this measure applies is small and therefore more susceptible to fluctuations, the Monitor
  considers DCF to have met the performance standard.

         FTMs Held After 12 Months in Placement with a Goal Other than Reunification

                                    19. Subsequent Family Team Meetings after 12 Months: For all children in
   Quantitative or                      placement with a goal other than reunification, the number/percent who have
   Qualitative Measure                  at least two FTMs each year.
                                    After the first 12 months of a child being in care, for those children with a goal
   Performance Target               other than reunification, 90% shall have at least two FTMs each year.


  Performance as of December 31, 2018:84

  In December 2018, 127 (89%) of 143 applicable children in out-of-home placement with a
  permanency goal other than reunification had two or more FTMs after 12 months. Performance
  from July 1 to December 31, 2018 ranged from a low of 89 percent to a high of 97 percent.85 For
  this measure, the Monitor verified monthly data from NJ SPIRIT for the 10 applicable cases to
  determine whether exceptions to FTM policy were appropriately applied and documented. 86 DCF
  took a primary role in this data validation process.

  DCF exceeded the SEP standard on this measure in each month of the monitoring period.




  83 Based on a review of all 15 cases, the Monitor excluded valid exceptions to the FTM requirement from the universe of cases.
  For example, in October 2018, there were 32 children who had been in care for at least 24 months who had a goal of
  reunification. The Monitor determined that in four cases, the worker had appropriately determined that the parent declined the
  FTM or was otherwise unavailable. The Monitor excluded that case, making the universe of applicable cases 28 children. There
  were no documented exceptions to the FTM requirement in November or December 2018.
  84 Children eligible for Measure 19 are all children who have been in care for at least 12 months who entered care in the month

  specified each year and have a goal other than reunification. For example, in December 2018, a combined total of 143 children
  entered care in December 2017, December 2016, December 2015, etc. and are still in placement with a goal other than
  reunification. Compliance is based on whether at least two FTMs were held for these children each year in the most recent year
  after 12 months in care.
  85 Monthly performance is as follows: July, 94%; August, 94%; September, 94%; October, 97%; November, 91%; December,

  89%. Reported performance accounts for valid exceptions to the FTM requirements.
  86 Based on a review of all 10 cases, the Monitor excluded valid exceptions to the FTM requirement from the universe of cases.

  For example, in November 2018 there were 132 children who had been in care after 12 months with a goal other than
  reunification. The Monitor determined that in two cases, the worker had appropriately determined that the parent declined the
  FTM or was otherwise unavailable. The Monitor excluded that case, making the universe of applicable cases 130 children. There
  were no documented exceptions to the FTM requirement in December 2018.

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                                                      Quality of Teaming

   Quantitative or                    20. Cases involving out-of-home placement show evidence of family teamwork.
   Qualitative Measure
                                      75% of cases involving out-of-home placements that were assessed as part of the
                                      Qualitative Review (QR) process will show evidence of both acceptable team
       Performance Target             formation and acceptable functioning. The Monitor, in consultation with the
                                      parties, shall determine the standards for quality team formation and functioning.


  FTMs are only one of the many ways in which DCF staff engage with families. Effective
  teaming is in fact much broader than just convening a meeting, and relies upon other
  foundational elements of quality case practice, such as engagement with family members, timely
  assessments and quality case planning, all of which are evaluated as part of the state’s QR
  process. Information about the QR process and protocol are detailed in Section V.N of this
  report.

  Results from the teamwork and coordination indicator in the QR are used to assess the quality of
  collaborative teamwork with children, youth and families. In assessing case ratings, the reviewer
  considers a range of questions for this indicator, including whether the family’s team is
  composed of the appropriate constellation of providers and informal supports needed to meet the
  child and family’s needs, and the extent to which team members, including family members,
  work together to meet identified goals.

  Performance as of December 31, 2018:

  Results from the 145 applicable cases reviewed from January through December 2018 using the
  QR protocol showed that 58 percent (84 of 145) rated acceptable for the teamwork and
  coordination indicator (Figure 2).87 This is an improvement from DCF’s performance in CY
  2016 in which 49 percent of cases were rated acceptable in the same set of counties. Performance
  hasn’t changed significantly from CY 2017, in which 59 percent of cases were rated acceptable.

  DCF has not yet met the SEP performance standard and DCF leaders and managers understand
  that focusing on the quality of teamwork and coordination is an essential to improving outcomes
  overall. Prioritizing core case practice strategies and working with supervisors and staff to
  enhance skills and time devoted to engagement, assessment and case planning will likely help to
  improve the quality of teaming with families with children in out-of-home placement.




  87   All in-home cases are excluded from this measure.

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                                        Figure 1: Qualitative Review (QR) Cases Rates Acceptable
                                                    on Teamwork and Coordination
                                                          (CY 2016 – CY 2018) 88
                                                                 (n=145)
                                 100%
                                 90%
                                 80%
                                                                                                                       Performance
                                 70%                                                                                   Target (75%)
           Percentage of Cases




                                 60%
                                 50%                                   59%                       58%
                                                                    (86 of 145)               (84 of 145)
                                 40%             49%
                                              (72 of 146)
                                 30%
                                 20%
                                 10%
                                  0%
                                               CY 2016               CY 2017                   CY 2018
                                                                  Calendar Year
       Source: DCF data




  88In CY 2016 and CY 2018, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon, Mercer,
  Monmouth, Passaic, Salem and Union counties. In CY 2017, Qualitative Reviews were conducted in Atlantic, Bergen, Camden,
  Cape May, Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties.

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         C. QUALITY OF CASE AND SERVICE PLANNING

  Timely and meaningful case plans that are developed with the family at the beginning of a case,
  as well as throughout a family’s involvement with DCF, rely on workers’ assessment and
  engagement skills. During this monitoring period, Case Practice Liaisons (CPLs) continued to
  support staff in practice skills related to assessment, teaming, case planning and visitation
  between children in out-of-home care and families.

  The SEP includes three measures related to case planning, two of which have been previously
  met and designated as Outcomes To Be Maintained: the requirement that case plans be
  developed with families within 30 days of placement (SEP IV.D.22) and the requirement that
  case plans be reviewed and modified every six months (SEP III.C.6). The remaining SEP
  measure regarding the quality of case planning (SEP IV.D.23) has not yet been achieved.
  Performance for all three measures during the current monitoring period are discussed below.

                              Timeliness of Case Planning – Initial Case Plans

   Quantitative or               22. Timeliness of Initial Plans: For children entering care, number/percent of case
   Qualitative Measure               plans developed within 30 days.

   Performance Target            95% of case plans for children and families are completed within 30 days.


  Performance as of December 31, 2018:

  In December 2018, 169 (94%) of 179 initial case plans were completed within 30 days of a child
  entering placement. Between July 1 and December 31, 2018, the timely development of initial
  case plans ranged from a low of 92 percent to a high of 96 percent.89 In this monitoring period,
  DCF met or exceeded this measure in three of six months, and was only slightly below the
  standard in the remaining three months. The Monitor considers DCF to have met this measure
  and will continue to carefully follow performance on timely completion of initial case plans.

                              Timeliness of Case Planning – Every Six Months

       Quantitative or     6. Case Plans: Case plans for children and families will be reviewed and modified
       Qualitative Measure    no less frequently than every six months.

                                  95% of case plans for children and families will be reviewed and modified no less
       Performance Target         frequently than every six months.




  89Monthly performance for this measure is as follows: July, 96%; August 92%; September, 94%; October, 95%; November,
  95%; December, 94%.

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  Performance as of December 31, 2018:

  In December, 2018, 96 percent of case plans had been modified no less frequently than every six
  months. Performance from July 1 to December 31, 2018 ranged from 95 to 97 percent.90 DCF
  met or exceeded the required standard for this measure in each of the six months, which
  demonstrates improved performance from the previous monitoring period.

                                                   Quality of Case Plans

                                     23. Quality of Case Plans: The child’s/family’s case plan shall be developed with
                                         the family and shall be individualized and appropriately address the child’s
                                         needs for safety, permanency and well-being. The case plan shall provide for
    Quantitative or                      the services and interventions needed by the child and family to meet identified
    Qualitative Measure                  goals, including services necessary for children and families to promote
                                         children’s development and meet their educational, physical and mental health
                                         needs. The case plan and services shall be modified to respond to the changing
                                         needs of the child and family and the results of prior service efforts.

    Performance Target             80% of case plans rated acceptable as measured by the Qualitative Review (QR).



  DCF policy and the SEP require that families be involved in case planning, that plans are
  appropriate and individualized to the circumstances of the child or youth and family and that
  there is oversight of plan implementation to ensure case goals are met and plans are modified
  when necessary.

  Results from two QR indicators, child and family planning process and tracking and adjusting,
  are used to assess performance on this measure. Cases rated as acceptable demonstrate that child
  or youth and family needs are addressed in the case plan, appropriate family members were
  included in the development of the plan and interventions are being tracked and adjusted when
  necessary. Though the QR score only consists of those two indicators, several other aspects of
  practice contribute to high quality case planning.91

  Information about the QR process and protocol are detailed in Section V.N of this report.

  Performance as of December 31, 2018:

  Results from the 195 cases reviewed from January to December 2018 indicate that 51 percent
  (100 of 195) were rated acceptable for both the child and family planning process and tracking
  and adjusting indicators (Figure 3).92 Despite DCF leadership’s focus on emphasizing that the
  90 Monthly performance on this measure is as follows: July, 96%; August, 95%; September, 95%; October, 97%; November,
  96%; December, 96%.
  91 Improvements made to performance on QR indicators related to the assessment of the father (CY 2018, 22%), assessment of

  the mother (CY 2018, 40%), engagement of the father (CY 2018, 34%), engagement of the mother (CY 2018, 62%), case plan
  implementation (CY 2018, 64%) and teamwork and coordination (CY 2018, 58%) are likely to have a significant impact on the
  quality of case planning.
  92 From January to December 2018, 51% (100 of 195) of applicable cases reviewed were rated acceptable for both the child and

  family planning process and the tracking and adjusting indicators; 55% (107 of 195) of cases were rated acceptable for child and
  family planning process; 70% (137 of 195) of cases were rated acceptable for tracking and adjusting.

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  quality of case planning is as or more important than the transactional measures of timely
  completion, progress on improving performance has been slow and there has not been a
  significant change from CY 2017 in which 53 percent of cases were rated acceptable for both
  indicators.

  DCF did not meet the SEP performance standard in CY 2018. As discussed above, this is another
  area for which the level of performance suggests that improvements in core case practice
  strategies can have a significant bearing on the quality of case planning.

       Figure 2: Qualitative Review (QR) Cases Rated Acceptable on Quality of Case Plans and
                           Components of Placement (CY 2016 – CY 2018)93
                                              (n=195)

                              100%


                              80%                                                                                             Performance
                                                                                                                              Target (80%)
        Percentage of Cases




                                                                                  70%
                              60%                                          68%
                                                                    63% (131 (137
                                        54% 57% 55%                 (123 of 193) of 195)
                                                                                                         53%
                              40%       (106    (110 (107          of 195)                        49% (102 51%
                                       of 195) of 193) of 195)                                     (95 of 193) (100
                                                                                                 of 195)      of 195)

                              20%


                               0%
                                     Child and Family Planning     Tracking & Adjusting        Cases Rated Acceptable on
                                              Process                                               Both Indicators
                                                                 CY 2016   CY 2017   CY 2018


  Source: DCF data




  93In CY 2016 and CY 2018, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon, Mercer,
  Monmouth, Passaic, Salem and Union counties. In CY 2017, Qualitative Reviews were conducted in Atlantic, Bergen, Camden,
  Cape May, Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties.

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         D. EDUCATION

       Quantitative or     11. Educational Needs: Children will be enrolled in school and DCF will have taken
       Qualitative Measure     appropriate actions to ensure that their educational needs are being met.

                                   80% of cases will be rated acceptable as measured by the Qualitative Review (QR)
                                   in stability (school) and learning and development. The Monitor, in consultation
       Performance Target          with the parties, shall determine the standards for school stability and quality
                                   learning and development.


  SEP Section III.G.11 requires that “children will be enrolled in school and DCF will have taken
  appropriate actions to ensure that their educational needs are being met.” The SEP requires that
  80 percent of cases be rated acceptable on both the stability in school and learning and
  development indicators as measured by the QR.94 The QR process and protocol are discussed in
  detail in Section V.N of this report. This measure is designated as an Outcome To Be
  Maintained.

  Performance as of December 31, 2018:

  From January to December 2018, 83 percent (67 out of 81) of cases reviewed were rated
  acceptable for both stability in school and learning and development, age 5 & older (see Figure
  4).95 Though this performance is a slight decline from CY 2017, DCF continues to meet this SEP
  performance standard. Success in this area is likely due at least in part to consistently solid QR
  performance on stability in the home and living arrangement, which are 86 percent and 98
  percent for CY 2018, respectively.




  94 This measures applies to school-aged children in out-of-home placement.
  95 From January to December 2018, 83% (67 of 81) of the applicable cases reviewed were rated acceptable on both the stability
  in school and the learning and development, age 5 & older indicators; 91% (86 of 94) were rated acceptable for stability in
  school and 91% (77 of 85) were rated acceptable for learning and development, age 5 & older.

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                             Figure 3: Qualitative Review (QR) Cases Rated Acceptable on Educational Needs
                                                          (CY 2016 – CY 2018)96
                                                                 (n=81)

                             100%

                                                                                                                                Performance
                              80%                                                                                               Target (80%)
       Percentage of Cases




                                       91% 93% 91%                  93%
                                                                            92% 91%            87% 86%
                              60%      (123     (95    (86          (111
                                                                           (83 of (77           (78    (76 83%
                                      of 135) of 102) of 94)       of 119)
                                                                             90) of 85)        of 90) of 88) (67
                                                                                                             of 81)
                              40%


                              20%


                               0%
                                        Stability in School     Learning and Development     Cases Rated Acceptable on
                                                                                                  Both Indicators
                                                               CY 2016   CY 2017   CY 2018

  Source: DCF data




  96In CY 2016 and CY 2018, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon, Mercer,
  Monmouth, Passaic, Salem and Union counties. In CY 2017, Qualitative Reviews were conducted in Atlantic, Bergen, Camden,
  Cape May, Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties.

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       E. MAINTAINING CONTACT THROUGH VISITS


  Visits between children in foster care and their workers, parents and siblings are critical to
  children’s safety and well-being, and are essential tools for strengthening family connections and
  improving prospects for permanency. Visits also offer the opportunity for engagement and
  assessment of children, youth and families. From the perspective of a child in foster care, the loss
  of the ability to see their parents and siblings is a source of great pain, so the department’s efforts
  to preserve opportunities for those contacts is essential.

  The SEP includes six performance measures related to visits. As of July 2018, four measures
  were designated as Outcomes To Be Maintained, including caseworker contacts with children
  newly placed or after a placement change (SEP III.F.9); caseworker contacts with children in
  ongoing placement (SEP III.F.10); and parent-child weekly and bi-weekly visits (SEP IV.F.29
  and IV.F.30). Notably, during this monitoring period, DCF met the performance standard for
  sibling visits (SEP IV.F.31) for the first time. Caseworker contacts with parents when the goal is
  reunification (SEP IV.F.28) has not yet met the performance standard and remains designated an
  Outcome To Be Achieved. Performance for all six measures during the current monitoring period
  are discussed below.

                               Caseworker Visits with Children in Placement

                                  9.   Caseworker Contacts with Children – New Placement/Placement Change: The
   Quantitative or                     caseworker shall have at least twice-per-month face to face contact with the
   Qualitative Measure                 children within the first two months of placement, with at least one contact in the
                                       placement.
                                  93% of children shall have at least twice-per-month face to face contact with their
   Performance Target             caseworker during the first two months of placement, with at least one contact in the
                                  placement.


  Performance as of December 31, 2018:

  In December 2018, 249 (94%) of the 264 children in a new placement had two visits with their
  caseworkers during their first two months in placement. Between July and December 2018,
  monthly performance ranged from 89 percent to 94 percent.97 This represents a slight decline in
  performance slightly below the SEP standard during two months this monitoring period. DCF
  reports that it has continued to take steps to address issues in documentation of these visits and
  that Case Practice Liaisons (CPLs) have been tasked with reinforcing with Local Office staff on
  the importance of visiting with children in care.

                                  10. Caseworker Contacts with Children in Placement: During the remainder of
   Quantitative or                    placement, children will have at least one caseworker visit per month, in
   Qualitative Measure                placement.
                                  93% of children will have at least one caseworker visit per month in placement, for the
   Performance Target             remainder of placement.


  97Monthly performance is as follows: July, 93%; August, 93%; September, 92%; October, 94%; November, 89%; December,
  94%.

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  Performance as of December 31, 2018:

  In December 2018, 4,711 (94%) of the 4,998 children in an ongoing placement were visited at
  least once by their caseworker. Between July and December 2018, monthly performance ranged
  between 93 percent and 95 percent.98 DCF continues to meet this performance standard.

                               Caseworker Visits with Parents/Family Members

                                   28. Caseworker Visits with Parents/Family Members with Goal of Reunification:
   Quantitative or                     The caseworker shall have at least two face-to-face visits per month with the
   Qualitative Measure                 parent(s) or other legally responsible family member of children in custody with
                                       a goal of reunification.

                                   90% of families will have at least twice-per-month face-to-face contact with their
   Final Target                    caseworker when the permanency goal is reunification.


  Performance as of December 31, 2018:

  In December 2018, 1,678 (76%) of 2,208 applicable children in custody with a goal of
  reunification had parents who were visited at least twice during the month by caseworkers.
  Between July and December 2018, a range of 74 percent to 80 percent of applicable parents or
  other legally responsible family members were visited at least two times per month by a
  caseworker (see Figure 1).99 In assessing performance for this measure, the Monitor applied the
  findings from DCF’s review of children for whom case documentation indicated that a worker
  visit with a parent was not required because the parent was missing or otherwise unavailable.100
  DCF took a primary role in this data validation process again this monitoring period.

  Current performance does not meet the level required by the SEP.




  98 Monthly performance is as follows: July, 95%; August, 95%; September, 94%; October, 94%; November, 93%; December,
  94%.
  99 Monthly performance is as follows: July, 79%; August, 80%; September, 78%; October, 78%; November, 74%; December,

  76%. Reported performance accounts for valid exceptions to the visits requirement.
  100 During each month of the monitoring period, workers documented an average of approximately 400 cases in which there was

  believed to be an exception to the applicable visits requirement. In an effort to assess the validity of these exceptions, DCF
  reviewed 259 cases from a universe of cases from October and November 2018 in which worker visits with parents were not held
  due to a documented exception to the visits requirement. The Monitor and DCF determined that a valid exception was utilized in
  173 (67%) of the 259 cases reviewed. As a result, the Monitor excluded 67% of all cases with documented exceptions from each
  month from the universe. For example, in December 2018 there were 2,526 children in custody with a goal of reunification. Data
  from NJ SPIRIT indicated that there were 475 documented cases that month for which the worker had determined that the parent
  was missing or otherwise unavailable. Based on the sample, the Monitor excluded from the universe 318 (67%) of the 475 cases
  in December, making the universe of applicable children 2,208 (2,526-318).

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  Figure 4: Percentage of Families Who Had at Least Twice per Month Face-to-Face Contact
           with Caseworker when the Goal is Reunification (July – December 2018)
                            100%
                                                                                                                                     Performance
                            90%
                                                                                                                                     Target (90%)
                            80%
                                   79%            80%              78%              78%
                            70%                                                                     74%              76%
    Percentage of Parents




                            60%

                            50%

                            40%

                            30%

                            20%

                            10%

                             0%
                                   Jul-18        Aug-18           Sep-18           Oct-18          Nov-18           Dec-18
                                                                           Month

  Source: DCF data



                                         Visits between Children in Custody and their Parents

                                             29. Weekly Visits between Children in Custody and Their Parents: Number/percent
                                                 of children who have weekly visits with their parents when the permanency goal
   Quantitative or                               is reunification unless a court order prohibits or regulates visits or there is a
   Qualitative Measure                           supervisory approval of a decision to cancel a visit because it is physically or
                                                 psychologically harmful to a child.

                                             60% of children in custody with a return home goal will have an in-person visit with
                                             their parent(s) or other legally responsible family member at least weekly, excluding
   Final Target                              those situations where a court order prohibits or regulates visits or there is a
                                             supervisory approval of a decision to cancel a visit because it is physically or
                                             psychologically harmful to a child.


  Performance as of December 31, 2018:

  In December 2018, an average of 1,563 (77%) of 2,020 applicable children visited weekly with
  their parents during the month. Between July and December 2018, a monthly range of 76 percent




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  to 79 percent of children had a weekly visit with their parents when the permanency goal was
  reunification.101 This performance exceeds the SEP requirement.

                                    30. Bi-Weekly Visits between Children in Custody and Their Parents:
                                        Number/percent of children who have weekly visits with their parents when the
    Quantitative or                     permanency goal is reunification unless a court order prohibits or regulates
    Qualitative Measure                 visits or there is a supervisory approval of a decision to cancel a visit because it
                                        is physically or psychologically harmful to a child.

                                    85% of children in custody with a return home goal will have an in-person visit with
                                    their parent(s) or other legally responsible family member at least every other week,
    Final Target                    excluding those situations where a court order prohibits or regulates visits or there is
                                    a supervisory approval of a decision to cancel a visit because it is physically or
                                    psychologically harmful to a child.


  Performance as of December 31, 2018:

  In December 2018, 1,818 (91%) of 2,008 applicable children had at least two visits with their
  parents during the month. Between July and December 2018, a monthly range of 89 percent to 92
  percent of children had visits at least twice a month with their parents when their permanency
  goal was reunification.102 This performance exceeds the SEP requirement.

                       Visits between Children in Custody and Sibling Placed Apart

                        31. Visits between Children in Custody and Siblings Placed Apart: Number/percent
    Quantitative or         of children in custody, who have siblings with whom they are not residing shall
    Qualitative Measure     visit with their siblings as appropriate.

                                    85% of children in custody who have siblings with whom they are not residing shall
                                    visit with those siblings at least monthly, excluding those situations where a court
    Final Target                    order prohibits or regulates visits or there is a supervisory approval of a decision to
                                    cancel a visit because it is physically or psychologically harmful to a child.


  Performance as of December 31, 2018:

  In December 2018, 1,360 (88%) of 1,553 applicable children in placement who had at least one
  sibling with whom they did not reside had at least one visit with one of their siblings during the
  101 Monthly performance for this measure is as follows: July, 79%; August, 79%; September, 77%; October, 79%; November,
  76%; December, 77%. Given the results of validation from a prior monitoring period, the Monitor excluded from the universe all
  cases in which DCF documented an exception to the parent-child visit requirement. For example, in December 2018, there was
  an average of 2,624 children with a goal of reunification across the four weeks of the month. Data from NJ SPIRIT indicated that
  in an average of 604 cases that month, the worker had determined that the parent was unavailable for the visit, the child declined
  the visit or the visit was not required. Based on these data, the Monitor excluded those cases from the universe, making the
  universe of applicable children an average of 2,020 in December.
  102 Monthly performance for this measure is as follows: July, 92%; August, 92%; September, 91%; October, 92%; November,

  89%; December, 91%. Given the results of validation activities from a prior monitoring period, the Monitor excluded from the
  universe all cases in which DCF documented an exception to the parent-child visit requirement. For example, in December 2018,
  there were 2,526 children with a goal of reunification. Data from NJ SPIRIT indicated that in 518 cases that month, the worker
  had determined that the parent was unavailable for the visit, the child declined the visit or the visit was not required. Based on
  these data, the Monitor excluded those cases from the universe, making the universe of applicable children 2,008 in December.

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  month. Between July and December 2018, a range of 85 percent to 88 percent of children had at
  least monthly visits with one of their siblings with whom they were not placed (see Figure 2).103

  In assessing performance for this measure, the Monitor applied the findings from a joint review
  with DCF of children for which case documentation indicated that a sibling visit was not
  required due to a court order, hospitalization, or because the child was missing or otherwise
  unavailable.104 DCF again took a primary role in this validation process.

  For the first time this monitoring period, DCF provided data to the Monitor about sibling visits
  facilitated by private providers. After validating these data, the Monitor included those visits in
  DCF’s performance for maintaining contacts between siblings through visits. As a result of this
  data adjustment and reported improvements in performance in many Local Offices, DCF’s
  performance exceeds the SEP standard in this area for the first time this monitoring period.

                    Figure 5: Percentage of Children Who Had at Least Monthly Visits with Siblings,
                              for Children not Placed with Siblings (July – December 2018)

                                 100%

                                                                                                                                   Performance
                                 80%                                                                            88%                Target (85%)
                                                            87%              87%
        Percentage of Children




                                        86%       86%                                          85%

                                 60%


                                 40%


                                 20%


                                  0%
                                        Jul-18   Aug-18    Sep-18           Oct-18           Nov-18            Dec-18

                                                               Month

  Source: DCF data




  103 Monthly performance is as follows: July, 86%; August, 86%; September, 87%; October, 87%; November, 85%; December,
  88%. Reported performance accounts for valid exceptions to the visits requirement.
  104 During each month of the monitoring period, workers documented an average of approximately 250 cases in which there was

  believed to be an exception to the applicable visits requirement. In an effort to assess the validity of these exceptions, DCF
  reviewed 189 cases from a universe of eligible children in October and November 2018 in which children were not able to visit
  their sibling due to a documented exception to the visits requirement. The Monitor and DCF determined that a valid exception
  was utilized in 114 (60%) of 189 cases reviewed. As a result, the Monitor excluded 60% of the exceptions from each month from
  the universe. For example, in the month of December 2018, there were 1,700 children in custody with a sibling in care with
  whom they were not placed. Data from NJ SPIRIT indicated that there were 245 documented cases that month for which the
  worker had determined the visit was not required or the child was unavailable. Based on the sample, the Monitor excluded from
  the universe 147 (60%) the 245 cases, making the universe of applicable children 1,553 (1,700 -147).

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      F. PLACEMENT


  Stable and appropriate placement for children in foster care is critical to safety and well-being,
  and maintenance of family bonds. DCF policy requires siblings to be placed together whenever
  possible, and that children experience as few placement changes as possible while in out-of-
  home placement. There are five performance measures related to placement. As of January 2018,
  all had been previously met and were designated as Outcomes To Be Maintained: sibling
  placements of two to three children (SEP IV.G.32); sibling placements and recruitment of
  placements for four or more children (SEP IV.G.33); placement stability for children in care
  between 13 and 24 months (SEP IV.G.36); and placement stability for children in care 12
  months or less (SEP IV.G.35). All of these measures, except recruitment of placements to
  accommodate large sibling groups, are assessed through longitudinal cohort data on an annual
  basis. Performance for all five measures are discussed below.
                                             Placing Siblings Together

   Quantitative or                32. Placing Siblings Together: The percentage of sibling groups of two or three
   Qualitative Measure                siblings entering custody be placed together.

                                  At least 80% of siblings groups of two or three children entering placement will be
   Performance Target
                                  placed together.


  Performance as of CY 2018:

  In CY 2018, there were 480 sibling groups that came into custody at the same time or within 30
  days of one another that were comprised of two or three children. Of these, 77 percent (371)
  were placed together. DCF approached, but did not meet, the SEP standard for this measure for
  the third consecutive year. CSSP has asked DCF to review data on this measure to identify
  barriers to performance. The Monitor will wait to review data from the period January 1 through
  December 30, 2019, the next available data set, before recommending a change in categorization
  for this measure.

                           Placing Siblings Together for Four of More Children

   Quantitative or                33. Placing Siblings Together for Four or More Children: The percentage of sibling
   Qualitative Measure                groups of four or more placed together.

   Performance Target             For sibling groups of four or more 80% will be placed with at least one other sibling.


  Performance as of CY 2018:

  In CY 2018, there were 286 children who were part of sibling groups of four or more children in
  placement. Of those, 246 (86%) were placed with at least one other sibling. DCF has exceeded
  this SEP performance standard again this monitoring period.



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                     Recruitment of Placements for Sibling Groups of Four or More

    Quantitative or     34. Recruitment of Placements for Sibling Groups of Four or More
    Qualitative Measure
                                   DCF will continue to recruit for resource homes capable of serving sibling groups of
    Performance Target             four or more.


  Performance as of December 31, 2018:

  DCF staff continued to develop recruitment strategies that focus efforts on local needs, with a
  special emphasis on families willing to care for large sibling groups and adolescents.

  Recruitment efforts include partnering with community groups and businesses that offer
  opportunities to speak at professional organizations and events, local sports facilities and movie
  theaters, and strategically place advertisements in local publications and in online websites to
  reach potential resource families.

  During this monitoring period, DCF continued to host recruitment and retention events for
  families willing and able to accommodate large sibling groups. For example, the Hudson County
  recruiter presented at the Hudson PRIDE Day to LGTBQI families about the need for families
  willing to care for large sibling groups, Essex County recruiters presented at the Harriet Tubman
  School in Newark on the same topic, and the Ocean County recruiter held a retention event at
  Skyzone.

  As of December 31, 2018, DCF had a total of 73 large capacity Siblings in Best Placement
  Settings (SIBs) homes, 11 fewer than at the end of June 30, 2018. Of the 73 large capacity SIBs
  homes, 55 homes can accommodate four children – a decrease of 9 homes from the previous
  monitoring period – and 18 can accommodate five or more children, a decrease of two homes
  from the first half of the year. Between July and December 2018, DCF recruited and licensed a
  total of 19 new SIBs homes; 14 SIBS homes that can accommodate four children and five SIBS
  homes that can accommodate five children. During the same period, 23 homes that can
  accommodate four children and seven homes that can accommodate five children closed or
  downgraded their capacity.105

  The Monitor considers DCF to have met the SEP standard for this measure between July and
  December 2018.




  105 As of December 31, 2018, 23 homes accommodating four children either downgraded or closed: five homes closed or
  downgraded upon reunification of siblings with their biological parents, seven homes downgraded or closed upon adoption or
  kinship legal guardianship, six homes downgraded after requesting removal of sibling(s) from the home, one home was closed
  due to the death of the provider, two homes downgraded after the sibling groups were moved to the home of a relative or family
  friend, one home was downgraded after an Institutional Abuse Investigations Unit investigation and one home closed after
  obtaining custody of the sibling group. During the same period, seven homes that could accommodate five or more children
  downgraded their capacity: five homes downgraded after adoption finalization, one home downgraded after reunification of
  siblings with their biological parents, and one home downgraded after the sibling group was moved to the home of a relative.

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                                                Stability of Placement

                                  35. Stability of Placement: The percentage of children entering out-of-home
   Quantitative or
                                      placement for the first time in a calendar year who have no more than one
   Qualitative Measure
                                      placement change during the 12 months following their date of entry.

                                  At least 84% of children entering care for the first time in a calendar year will have
   Performance Target             no more than one placement change during the 12 months following their date of
                                  entry.


  Performance as of CY 2017 (Most Recent Calendar Year Available):

  The most recent performance data assesses the 2,966 applicable children who entered care for
  the first time in CY 2017 and aggregates the number of placements each child experienced
  within one year of entry. For children entering care in CY 2017, 2,508 (85%) had no more than
  one placement change (two total placements) during the 12 months from their date of entry. DCF
  continued to meet the SEP performance standard for this measure this monitoring period.


                                  36. Stability of Placement: The percentage of children in out-of-home placement
   Quantitative or
                                      who have no more than one placement change during the 13 to 24 months
   Qualitative Measure
                                      following their date of entry.

                                  At least 88% of children in out-of-home placement will have no more than one
   Performance Target             placement change during the 13 to 24 months following their date of entry.


  Performance as of CY 2016 (Most Recent Calendar Year Available):

  The most recent performance data assesses the 1,653 applicable children who entered care for
  the first time in CY 2016 and aggregates the number of placements each child remaining in care
  experienced in the second year of their out-of-home placement. For children entering care in CY
  2016, 1,578 (95%) children had no more than one placement change (two total placements)
  during the 13 to 24 months following their date of entry. DCF performance exceeded the SEP
  performance standard.




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      G. MALTREATMENT OF CHILDREN AND YOUTH


  A fundamental responsibility of DCF is ensuring the long-term safety of children who are
  receiving or have received services from CP&P. This responsibility includes ensuring the safety
  of children who are placed in resource family homes and congregate facilities, and preventing
  future maltreatment.

  There are four SEP performance measures related to maltreatment of children and youth. As of
  January 2018, three measures were designated as Outcomes To Be Maintained: abuse and
  neglect of children in foster care (SEP III.H.12); repeat maltreatment for children remaining in
  their home (SEP IV.H.37); and maltreatment post-reunification (SEP IV.H.38). One was
  designated as an Outcome To Be Achieved: re-entry to placement (SEP IV.H.39). All of these
  measures are assessed through longitudinal cohort data on an annual basis. Performance for all
  four measures are discussed below.

                                     Abuse and Neglect of Children in Foster Care

                       12. Abuse and Neglect of Children in Foster Care: Of all children in foster care, the
   Quantitative or         percentage who are victims of substantiated abuse or neglect by a resource
   Qualitative Measure     parent or facility staff member.

                                  No more than 0.49% of children will be victims of substantiated abuse or neglect by
   Final Target                   a resource parent or facility staff member.


  Performance as of CY 2018:

  In CY 2018, 25 out of 9,423 children (0.27%) were victims of a substantiated allegation of abuse
  and/or neglect by a resource parent or facility staff member. Performance for this measure
  continues to exceed the SEP performance standard, and mirrors Qualitative Review (QR) data
  which consistently shows high performance on child safety.

                                                     Repeat Maltreatment

                       37. Repeat Maltreatment (In-Home): Of all children who remain in home after
   Quantitative or         substantiation of abuse or neglect, the percentage who have another
   Qualitative Measure     substantiation within the next 12 months.

                                  No more than 7.2% of children who remain at home after a substantiation of abuse
   Final Target                   or neglect will have another substantiation within the next 12 months.


  Performance as of CY 2017 (Most Recent Calendar Year Available):

  In CY 2017, there were 3,767 children who were victims of a substantiated allegation of abuse
  and/or neglect who were not placed in out-of-home care but instead served through in-home
  services. Of the 3,767 children, 189 (5%) of these children were the victims of another
  substantiated allegation of child abuse and/or neglect within 12 months of the initial

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  substantiation. Figure 6 shows performance from CY 2009 to CY 2017. While DCF seeks to
  insure no future maltreatment for any child, in-home repeat maltreatment rates have impressively
  declined in since CY 2013, and DCF performance continues to meet the SEP standard.

     Figure 6: Percentage of Children who were Victims of Second Substantiated Allegation
         within 12 Months of Remaining at Home after First Substantiated Allegation
                                      (CY 2009-CY 2017)
                              10.0%

                              9.0%
                                                        7.8%                   7.9%
                              8.0%                                  7.3%
                                                                                                                                        Performance
                              7.0%           6.3%
     Percentage of Children




                                                                                                                                        Target (Below
                                                                                           6.9%                                         7.2%)
                              6.0%                                                                    6.5%       6.5%

                              5.0%    5.6%
                                                                                                                          5.0%
                              4.0%

                              3.0%

                              2.0%

                              1.0%

                              0.0%
                                 CY 2009 CY 2010 CY 2011 CY 2012 CY 2013 CY 2014 CY 2015 CY 2016 CY 2017
                                                                           Calendar Year
  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University




                       38. Maltreatment Post-Reunification: Of all children who are reunified during a
   Quantitative or
                           period, the percentage who are victims of substantiated abuse or neglect within
   Qualitative Measure     one year after the date of reunification.

                                                    Of all children who enter foster care in a 12-month period for the first time who are
                                                    discharged within 24 months to reunification or living with relative(s), no more than
   Final Target                                     6.9% will be the victims of substantiated abuse or neglect within 12 months after
                                                    reunification.


  Performance as of CY 2015 (Most Recent Calendar Year Available):

  In CY 2015, there were 1,826 children in foster care who exited DCF custody to reunification
  with families. Of those, 107 (5.9%) of these children were victims of a substantiated allegation of
  abuse and/or neglect within 12 months of their return home. Figure 7 shows performance from
  CY 2008 to CY 2015. While DCF seeks to insure no future maltreatment for any child, post-
  reunification maltreatment rates have dropped since CY 2012, and DCF continues to meet the
  SEP performance standard.



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    Figure 7: Percentage of Children who were Victims of Substantiated Allegation within 12
                        Months after Reunification (CY 2008-CY 2015)


                                 10%
                                 9%
                                                                                     7.7%
                                 8%
        Percentage of Children




                                 7%                      7%                                       6.5%         6.4%
                                                                                                                                          Performance
                                                                      6%
                                 6%          7%                                                                                           Target (Below
                                       6%                                                                                5.9%             6.9%)
                                 5%
                                 4%
                                 3%
                                 2%
                                 1%
                                 0%
                                  CY 2008   CY 2009    CY 2010       CY 2011      CY 2012      CY 2013       CY 2014      CY 2015

                                                                      Calendar Year

  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University



                                                               Re-entry to Placement

                                                  39. Re-entry to Placement: Of all children who leave custody during a period,
    Quantitative or                                   except those whose reason for discharge is that they ran away from their
    Qualitative Measure                               placement, the percentage that re-enter custody within one year of the date of
                                                      exit.

                                                  Of all children who enter foster care in a 12 month period for the first time who are
                                                  discharged within 12 months to reunification, living with relative(s), or
    Final Target                                  guardianship, no more than 9% will re-enter foster care within 12 months of their
                                                  discharge.


  Performance as of CY 2016 (Most Recent Calendar Year Available):

  In CY 2016, there were 1,291 children to whom this measure applied; 158 (12.2%) children re-
  entered placement within 12 months of their discharge to reunification, living with relatives, or
  guardianship. Figure 8 shows performance from CY 2009 to CY 2016. These rates have not
  changed significantly since 2009, and DCF has not yet met the SEP performance standard.106


  106The methodology for calculating this measure changed between the Modified Settlement Agreement (MSA) and the
  Sustainability and Exit Plan (SEP), wherein Re-entry to Care was initially measured using exit cohorts, and in recent years has
  been measured using entry cohorts. As reflected in Figure 8, CSSP has adjusted the historical trend data to account for changes in
  reporting over time.

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  DCF is taking a closer look at factors that contribute to re-entry to foster care to explore barriers
  to performance on this measure.

    Figure 8: Percentage of Children Who Re-Entered Custody within One Year of Date of
                                  Exit (CY 2009 – CY 2016)

                                 20%



                                 15%
                                                             12.7%
        Percentage of Children




                                                                                   11.5%       12.0%             12.2%
                                       11.0%      11.1%                 11.5%                           11.2%
                                 10%
                                                                                                                               Performance
                                                                                                                               Target (Below
                                                                                                                               9%)
                                 5%



                                 0%
                                  CY 2009      CY 2010    CY 2011    CY 2012    CY 2013    CY 2014     CY 2015    CY 2016


                                                                       Calendar Year


  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University.




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      H. TIMELY PERMANENCY


  Regardless of age, gender, race or ethnicity, all children need and deserve a safe, nurturing
  family to protect and guide them. Safe family reunification with families is the preferred path,
  but permanency for children can be achieved through a number of different avenues, including
  kindship/guardianship and adoption. There are four SEP measures that focus on permanency for
  children. As of January 2018, three measures were designated as Outcomes To Be Maintained –
  achieving permanency within 12 months (SEP IV.I.40), 36 months (SEP IV.I.42) and 48 months
  (SEP IV.I.43) – and one measure was designated as an Outcome To Be Achieved – achieving
  permanency within 24 months (SEP IV.I.41). All of the measures discussed in this section are
  assessed with longitudinal cohort data on an annual basis. Performance for all four measures are
  discussed below.

               Timely Permanency through Reunification, Adoption or Guardianship

                                  40. Permanency Within 12 months: Of all children who entered foster care in a 12
   Quantitative or     month period, what percentage were discharged from foster care to permanency
   Qualitative Measure (reunification, living with relatives, guardianship or adoption) within 12 months of
                                  entering foster care.

                                  Of all children who enter foster care in a 12 month period, at least 42% will be
   Final Target                   discharged to permanency (reunification, living with relatives, guardianship or
                                  adoption) within 12 months of entering foster care.


  Performance as of CY 2017 (Most Recent Calendar Year Available):

  The most recent data available for this measure are for children who entered foster care in CY
  2017. Of the 3,382 children who entered foster care in CY 2017, 1,401 (41%) were discharged to
  permanency within 12 months of their removal from their home (see Figure 9). Of those 1,401
  children, 1,193 of them were discharged to reunification with their families; this means that 35
  percent of all children who entered foster care in CY 2017 were discharged to reunification
  within 12 months. Current performance has dipped slightly but the Monitor has determined that
  DCF continues to meet the SEP performance standard for permanency within 12 months.




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      Figure 9: Percentage of Children Who Enter Foster Care in a 12 Month Period Who
   Discharge to Permanency within 12 Months of Entering Foster Care (CY 2010 – CY 2017)

                             60%


                             50%
    Percentage of Children




                                                       44%          43%                                    43%
                                   43%    42%                                                 42%                     41%
                                                                                 41%
                                                                                                                                   Performance
                             40%                                                                                                   Target (42%)


                             30%


                             20%
                               CY 2010   CY 2011     CY 2012      CY 2013      CY 2014      CY 2015      CY 2016      CY 2017

                                                                      Calendar Year
  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University.




                       41. Permanency Within 24 months: Of all children who enter foster care in a 12
   Quantitative or     month period, what percentage were discharged to permanency (reunification, living
   Qualitative Measure with relatives, guardianship or adoption) within 24 months of entering care.

                                                Of all children who enter foster care in a 12 month period, at least 66% will be
   Final Target                                 discharged to permanency (reunification, living with relatives, guardianship or
                                                adoption) within 24 months of entering care.


  Performance as of CY 2016 (Most Recent Calendar Year Available):

  The most recent data available for this measure are for children who entered foster care in CY
  2016. Of the 3,786 children who entered foster care in CY 2016, 2,466 (65%) were discharged to
  permanency within 24 months of removal from their homes (see Figure 10). Of those 2,466
  children, 1,913 of them were discharged to reunification with their families; this means that 51
  percent of all children who entered care in CY 2015 were discharged to reunification within 24
  months. DCF performance remains close to, but does not yet meet, the SEP standard.




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                      Figure 10: Percentage of Children Who Enter Foster Care in a 12 Month Period Who
                              Discharge to Permanency within 24 Months of Entering Foster Care
                                                    (CY 2010 – CY 2016)107

                             80%

                             75%
    Percentage of Children




                             70%
                                                                                                                                Performance
                             65%                                       66%                                                      Target (66%)
                                          64%                                          65%                         65%
                                   64%                  63%                                            64%
                             60%

                             55%

                             50%
                               CY 2010   CY 2011      CY 2012        CY 2013         CY 2014        CY 2015        CY 2016

                                                                  Calendar Year
  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University.



                        42. Permanency Within 36 months: Of all children who enter foster care in a 12
    Quantitative or     month period, what percentage were discharged to permanency (reunification, living
    Qualitative Measure with relatives, guardianship or adoption) within 36 months of entering care.

                                             Of all children who enter foster care in a 12 month period, at least 80% will be
    Final Target                             discharged to permanency (reunification, living with relatives, guardianship or
                                             adoption) within 36 months of entering care.


  Performance as of CY 2015 (Most Recent Calendar Year Available):

  The most recent data available for this measure are for children who entered foster care in CY
  2015. Of the 4,037 children who entered foster care in CY 2015, 3,281 (81%) were discharged to
  permanency within 36 months of removal from their homes (see Figure 11). Of those 3,281
  children, 2,106 of them were discharged to reunification with their families; this means that 52
  percent of all children who entered care in CY 2014 were discharged to reunification within 36
  months. DCF performance meets the SEP standard again this reporting period.




  107DCF provided the Monitor with new data this monitoring period that included permanency rates for those in the entry cohort
  between the ages of 18 and 21. The Monitor has not independently verified this data but has included it in the figures, which
  shows a higher level of performance than has been historically reported in prior monitoring periods.

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     Figure 11: Percentage of Children Who Enter Foster Care in a 12 Month Period Who
   Discharge to Permanency within 36 Months of Entering Foster Care (CY 2010 – CY 2015)
                              100%


                              90%
     Percentage of Children




                              80%                                                                                              Performance
                                                                                80%               81%           81%            Target (80%)
                                     77%    78%               78%
                              70%


                              60%


                              50%
                                CY 2010    CY 2011          CY 2012           CY 2013           CY 2014           CY 2015

                                                                   Calendar Year
  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University.




                       43. Permanency within 48 months: Of all children who enter foster care in a 12
   Quantitative or     month period, what percentage were discharged to permanency (reunification, living
   Qualitative Measure with relatives, guardianship or adoption) within 48 months of entering care.

                                            Of all children who enter foster care in a 12 month period, at least 86% will be
   Final Target                             discharged to permanency (reunification, living with relatives, guardianship or
                                            adoption) within 48 months of entering care.


  Performance as of CY 2014 (Most Recent Calendar Year Available):

  The most recent data available for this measure are for children who entered foster care in CY
  2014. Of the 4,379 children who entered foster care in CY 2014, 3,895 (89%) were discharged to
  permanency within 48 months of removal from their homes (see Figure 12). Of those 4,379
  children, 2,354 of them were discharged to reunification with their families; this means that 54
  percent of all children who entered care in CY 2013 were discharged to reunification within 48
  months. Current performance meets the SEP performance standard for the second time, another
  notable achievement.




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     Figure 12: Percentage of Children Who Enter Foster Care in a 12 Month Period Who
   Discharge to Permanency within 48 Months of Entering Foster Care (CY 2010 – CY 2014)
                                100%
       Percentage of Children




                                90%                                                              88%     89%
                                                                                                                     Performance
                                              84%       85%                            85%                           Target (86%)
                                80%                                83%     85%
                                       80%

                                70%


                                60%
                                  CY 2007    CY 2008   CY 2009   CY 2010   CY 2011   CY 2012   CY 2013   CY 2014

                                                                   Calendar Year

  Source: DCF data analyzed by Hornby Zeller Associates and Rutgers University.




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      I. CHILD HEALTH UNITS


  Early in New Jersey’s child welfare reform efforts, DCF developed Child Health Units (CHUs)
  to facilitate and ensure the timely provision of health care to children in CP&P custody. CHUs
  are located in each CP&P Local Office and are staffed with Regional Nurse Administrators,
  Nurse Health Care Case Managers (HCCMs) and staff assistants, based on the projected number
  of children in out-of-home placement.

  Section III.E of the SEP requires the state to “maintain its network of child health units,
  adequately staffed by nurses in each Local Office.” This measure has been previously met and
  designated as an Outcome To Be Maintained. In what continues to be a model for other child
  welfare systems throughout the country, each child placed in a resource home has a nurse
  assigned for health care case management. CHUs are recognized by staff and external partners as
  an effective achievement of New Jersey’s child welfare reform efforts. The work of the nurses in
  concert with staff and other team members continue to contribute to the consistently positive
  findings in New Jersey’s Qualitative Reviews (QRs) regarding children’s health. Performance
  for this measure is discussed below.

   Quantitative or     8. Child Health Units: The State will continue to maintain its network of child
   Qualitative Measure    health units, adequately staffed by nurses in each Local Office.

   Performance Target             DCF will maintain adequate staffing levels in Local Offices.


  Performance as of December 31, 2018:

  As of December 31, 2018, DCF had 163 nurses and 84 staff assistants. Of the 163 nurses, an
  average of 161 were available for coverage for an average ratio of one nurse to every 36 children
  in out-of-home care, exceeding the standard of one nurse to 50 children in out-of-home care.




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        J. OLDER YOUTH

  The SEP includes four measures related to older youth, all designated as Outcomes To Be
  Maintained – completion of Independent Living Assessments (SEP IV.K.45); quality of case
  planning and services (SEP IV.K.46); housing for youth who exit care without achieving
  permanency (SEP IV.K.47); and education/employment for youth who exit care without
  achieving permanency (SEP IV.K.48). Performance for all four measures during the current
  monitoring period are discussed below.

                                         Independent Living Assessments

    Quantitative or     45. Independent Living Assessments: Percentage of youth age 14 and 18 with a
    Qualitative Measure     completed Independent Living Assessment.

    Performance Target            90% of youth age 14 to 18 will have an Independent Living Assessment.


  Performance as of December 31, 2018:

  In December 2018, there were 696 youth age 14 to 18 in out-of-home placement for at least six
  months; 599 (86%) had an Independent Living Assessment (ILA) completed. Monthly
  performance between July and December 2018 ranged from 86 to 90 percent.108 DCF
  performance met the SEP standard in one of six months this monitoring period, and remains
  close to the standard in the other months. The Monitor considers this performance to have met
  the SEP standard, but will continue to closely review data regarding ILAs during the monitoring
  period January through June 2019.

                                     Quality of Case Planning and Services

                        46. Quality of Case Planning and Services: DCF shall provide case management
    Quantitative or         and services to youth between the age 18 and 21 who have not achieved legal
    Qualitative Measure     permanency.

                                  75% of youth age 18 to 21 who have not achieved legal permanency shall receive
    Performance Target            acceptable quality case management and service planning.


  Performance as of December 31, 2018:

  Performance data for this measure were collected through Qualitative Reviews (QRs) of the
  experiences and outcomes of 43 youth age 18 to 21, conducted from January through December
  2018. In rating these cases, reviewers use both the standard QR protocol and a list of additional
  considerations relevant to this population, such as DCF’s efforts to plan and support youth who
  identify as LGBTQI, those who are victims of domestic violence, those who are expectant or
  parenting, and those who have developmental disabilities.


  108
    Monthly performance is as follows: July, 90%; August, 88%; September, 88%; October, 89%; November, 89%; December,
  86%.

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  From January to December 2018, 30 of the 43 (70%) cases reviewed scored acceptable for both
  the child (youth)/family status and overall practice performance indicators (see Figure 13).109
  There has not been a significant change from CY 2017, in which 74 percent of cases reviewed
  were rated acceptable on both indicators. Given that the universe of cases to which this measure
  applies is small and therefore more susceptible to fluctuations, the Monitor considers DCF to
  have met the performance standard, but will continue to closely track progress in this area of
  practice.

                                     Figure 13: Qualitative Review (QR) Cases Rated Acceptable on
                                         Quality of Case Planning and Services for Older Youth
                                                         (CY 2016 – CY 2018)110
                                                                 (n=43)

                              100%


                              80%
                                                                                                                                    Performance
        Percentage of Cases




                                                                                                                                    Target (75%)
                                               88%
                              60%               (37     84%
                                      81%      of 42)    (36                    74% 74%                  74%
                                       (26              of 43)         69%              (32               (31     70%
                                                                                 (31
                                      of 32)                            (22                     63%      of 42)    (30
                              40%                                               of 42) of 43)
                                                                       of 32)                    (20              of 43)
                                                                                                of 32)
                              20%


                               0%
                                     Overall Child and Family    Overall Practice Performance Cases Rated Acceptable on
                                              Status                                               Both Indicators

                                                             CY 2016     CY 2017    CY 2018

  Source: DCF data




  109 From January to December 2018, 70% (30 of 43) of the applicable cases reviewed were rated acceptable on both the overall
  child (youth)/family status and the overall practice performance indicators; 84% (36 of 43) of cases were rated acceptable for
  child (youth)/family status and 74% (32 of 43) of cases were rated acceptable for overall practice performance.
  110 In both CY 2016 and CY 2018, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon,

  Mercer, Monmouth, Passaic, Salem and Union counties. In CY 2017, Qualitative Reviews were conducted in Atlantic, Bergen,
  Camden, Cape May, Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties.

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                                                           Housing

    Quantitative or     46. Housing: Youth exiting care without achieving permanency shall have housing.
    Qualitative Measure
    Performance Target             95% of youth exiting care without achieving permanency shall have housing.


  Performance as of December 31, 2018:

  The Monitor and DCF staff conducted a case record review of all youth who exited care between
  July and December 2018 without achieving permanency to assess whether they had housing
  upon leaving DCF custody. Of the 55 youth for which this measure was applicable,111 there was
  documentation of a housing plan for 53 (96%) youth, exceeding the SEP standard. This is an
  improvement in performance from the previous monitoring period.

                                                Employment/Education

                                   47. Employment/Education: Youth exiting care without achieving permanency shall
    Quantitative or                    be employed, enrolled in or have recently completed a training or an educational
    Qualitative Measure                program or there is documented evidence of consistent efforts to help the youth
                                       secure employment or training.
                                   90% of youth exiting care without achieving permanency shall be employed,
                                   enrolled in or have recently completed a training or an educational program or there
    Performance Target             is documented evidence of consistent efforts to help the youth secure employment or
                                   training.


  Performance as of December 31, 2018:

  The Monitor and DCF also reviewed the case records of all youth who exited DCF custody
  between July and December 2018 without achieving permanency to determine whether they
  were employed or enrolled in school at the time of leaving care. Of the 53 youth to whom this
  measure applied,112 47 (89%) were either employed or enrolled in education or vocational
  training programs, or there was documentation of consistent efforts by the caseworker to help
  youth secure education or employment.113 This is an improvement in performance from the prior
  monitoring period, and the Monitor considers this SEP measure to be met again this period.




  111 Six youth out of the universe of 61 youth exiting care to non-permanency were excluded from consideration because two
  youth could not be located and four were incarcerated.
  112 Eight youth out of the universe of 61 youth exiting care to non-permanency were excluded from consideration because they

  could not be located, were incarcerated, or moved out of state.
  113 Seven youth were considered to have met the standard because there was documentation of consistent efforts by the

  caseworker to help secure education or employment.

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      K. SERVICES TO SUPPORT TRANSITION

  While involved with DCF, children, youth and families often face transitions, including changes
  in family relationships, living arrangements, service providers or schools. Some transitions are
  more critical than others but all require recognition and planning in order to be smooth and
  successful. DCF uses the Qualitative Review (QR) process to measure case practice that supports
  families to make successful transitions. Section IV.J of the SEP requires that 80 percent of cases
  be rated acceptable on the successful transitions indicator. This measure is designated as an
  Outcome To Be Achieved. The QR process and protocol are discussed in detail in Section V.N of
  this report.

                                          Services to Support Transition


   Quantitative or     44. Services to Support Transition: DCF will provide services and supports to
   Qualitative Measure     families to support and preserve successful transitions.

                                 80% of cases will be plans rated acceptable for supporting transitions as measured
   Performance Target            by the Qualitative Review (QR).

  Performance as of December 31, 2017:

  Results from 118 applicable cases reviewed from January to December 2018 indicate that 62
  percent (73 of 118) of cases were rated acceptable, which is not a significant shift in performance
  from CY 2017 or CY 2016 (see Figure 14). The lack of improvement on this measure reflects the
  overall quality of casework issues that the Department is working to improve with renewed focus
  on the Case Practice Model (CPM) and solution-based case planning. DCF has also been making
  efforts to identify barriers to access to services.

  DCF did not meet the SEP performance standard in CY 2018. Multiple integral parts of best case
  practice, including case planning, teaming and assessments, can impact how well DCF supports
  families to make successful transitions.




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        Figure 14: Qualitative Review (QR) Cases Rated Acceptable on Successful Transitions
                                       (CY 2016 – CY 2018)114
                                              (n=118)
                              100%

                              90%

                              80%                                                                                      Performance
                                                                                                                       Target (80%)
                              70%
        Percentage of Cases




                              60%
                                        66%
                                     (55 of 133)                                                62%
                              50%                              59%
                                                                                             (73 of 118)
                                                            (75 of 128)
                              40%

                              30%

                              20%

                              10%

                               0%
                                      CY 2016                CY 2017                          CY 2018

                                                     Calendar Year
  Source: DCF data




  114
    In CY 2016 and CY 2018, Qualitative Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon,
  Mercer, Monmouth, Passaic, Salem and Union counties. In CY 2017, Qualitative Reviews were conducted in Atlantic, Bergen,
  Camden, Cape May, Cumberland, Middlesex, Morris, Ocean, Somerset, Sussex and Warren counties.

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  L. CASELOADS

  One of the successes of DCF’s reform was reducing and now maintaining caseloads at levels
  where workers can do the work with children, youth and families that was expected of them.
  Caseload compliance is measured by assessing caseloads for individual caseworkers in each of
  the system’s functional areas (Intake, Permanency, Adoption and IAIU) as well as office
  standards for each CP&P Local Office. Table 2 summarizes the SEP’s caseload standards for
  individual workers.

  The SEP includes eight performance measures related to caseloads. As of July 2018, all were
  designated as Outcomes To Be Maintained. These eight measures include Intake office caseloads
  (SEP IV.E.24); Intake individual worker caseloads (SEP IV.E.25); Adoption office caseloads
  (SEP IV.E.26); Adoption individual worker caseloads (SEP IV.E.27); Permanency office
  caseloads (SEP III.B.4); Permanency individual worker caseloads (SEP III.B.5); IAIU
  investigators individual caseloads (SEP III.B.3); and supervisory/worker ratio (SEP III.B.2).
  Performance for all eight measures during the current monitoring period are discussed below.

                          Table 2: CP&P Individual Worker Caseload Standards
                                                                                         Individual Caseload Standard
  Caseworker Function                          Responsibility
                                                                                             (SEP IV.E and III.B)
                            Respond to community concerns regarding child
                                                                                     Intake workers are to have no more
                            safety and well-being. Specifically, receive
                                                                                     than 12 open cases at any one time
                            referrals from the State Central Registry (SCR)
                                                                                     and no more than eight new referrals
                            and depending on the nature of the referral,
          Intake                                                                     assigned in a month. No Intake worker
                            respond between two hours and five days with a
                                                                                     with 12 or more open cases can be
                            visit to the home and begin investigation or
                                                                                     given more than two secondary
                            assessment. Complete investigation or assessment
                                                                                     assignments per month.115
                            within 60 days.

                            Respond to allegations of child abuse and neglect
                            in settings including correctional facilities,
                                                                                     IAIU staff workers are to have no
    Institutional Abuse     detention facilities, treatment facilities, schools
                                                                                     more than 12 open cases at any one
    Investigations Unit     (public or private), residential schools, shelters,
                                                                                     time and no more than eight new
           (IAIU)           hospitals, camps or child care centers that are
                                                                                     referrals assigned in a month.
                            required to be licensed, resource family homes and
                            registered family day care homes.

                            Provide services to families whose children remain       Permanency workers are to serve no
                            at home under the protective supervision of CP&P         more than 15 families and 10
        Permanency
                            and those families whose children are removed            children in out-of-home care at any
                            from home due to safety concerns.                        one time.

                            Find permanent homes for children who cannot
                                                                                     Adoption workers are to serve no
                            safely return to their parents by preparing children
         Adoption                                                                    more than 15 children at any one
                            for adoption, developing adoptive resources and
                                                                                     time.
                            performing the work needed to finalize adoptions.
 Source: DCF


  115Secondary assignments refer to shared cases between Intake and Permanency workers for families who have a case open with
  a Permanency worker where there are new allegations of abuse or neglect that require investigation.

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  Verifying Worker Caseloads

  DCF caseload data are collected and analyzed through NJ SPIRIT and SafeMeasures. As in
  previous monitoring periods, the Monitor verified caseload data supplied by DCF by conducting
  telephone interviews with randomly selected workers across the state, and inquiring about
  caseloads during site visits and when doing QR reviews. The formal caseload verification
  process included workers in all areas in which the SEP establishes caseload standards: Intake,
  Permanency and Adoption. A sample of 150 workers116 were selected from all active workers in
  the months of July, August and October 2018. For the past several years, the Monitor has
  weighted the sample with Intake workers to examine in more depth the impact of shared cases
  between Intake and Permanency workers. All 150 workers were called and information was
  collected from 62 workers (41% of the eligible sample). Among the 62 workers who participated
  in the caseload verification interviews, 32 were Intake workers, 14 were Permanency workers,
  eight were Adoption workers and eight were trainees.

  During the interviews, the Monitor asked caseworkers whether their current caseloads met
  caseload standards during the months of July, August and October 2018; responses were
  compared to the caseload information from NJ SPIRIT and SafeMeasures for identified workers
  during the same period.

                                                            Intake

  The SEP Intake caseload standard is that no worker should have more than eight new case
  assignments per month, no more than 12 open primary cases at any one time and no Intake
  worker with 12 or more open primary cases can be assigned more than two secondary
  assignments per month. In January 2017, DCF implemented a new methodology for tracking and
  reporting the SEP Intake caseload standard to more clearly communicate to staff and to
  streamline monitoring and reporting. DCF’s new methodology captures secondary case
  assignments on the Intake worker’s monthly caseload report, which tracks and reports Intake
  caseloads as follows: no more than eight new assignments per month; no more than 12 cases
  assigned as primary case assignments at any one time; and no more than 14 cases at any one
  time, including both primary and secondary case assignments. The methodology for the standard
  of no more than eight new case assignments per month, including secondary assignments,
  remains unchanged.

  DCF continues to implement an internal caseload verification process which serves as a quality
  assurance method where Intake workers are interviewed and their reported caseloads are
  compared to their caseloads as reported in SafeMeasures. During the period of July through
  December 2018, DCF interviewed a random sample of 221 Intake workers from 23 Local
  Offices throughout the state. DCF verified that 95 percent (211 of 221) of Intake worker
  caseloads were accurately reflected in SafeMeasures. Findings from DCF’s caseload verification
  reviews are shared widely with DCF staff through briefs, posted onto the Office of Quality
  website, DCF-wide “DID YOU KNOW” emails, and during statewide leadership meetings.


  116
    The new caseload verification methodology consists of conducting a survey of a random selection of 50 workers per selected
  months throughout the monitoring period that includes questions about their current caseload and workload.

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                                 24. Intake Local Office Caseloads: Local Offices will have an average caseload for
   Quantitative or                   Intake workers of (a) no more than 12 families, and (b) no more than eight new
   Qualitative Measure               assignments per month. No Intake worker with 12 or more open cases can be
                                     given more than two secondary assignments per month.

                                 95% of Local Offices will have an average caseload of (a) no more than 12 families,
   Performance Target            and (b) no more than eight new assignments per month. No Intake worker with 12 or
                                 more open cases can be given more than two secondary assignments per month.


  Performance as of December 31, 2018:

  Performance data for July through December 2018 show that 100 percent of Local Offices met
  the Intake caseload standards. DCF continues to exceed the SEP standard.

                                 25. Individual Intake Caseloads: individual Intake workers shall have (a) no more
   Quantitative or                   than 12 open cases, and (b) no more than eight new assignments per month. No
   Qualitative Measure               Intake worker with 12 or more open cases can be given more than two
                                     secondary assignments per month.

                                 90% of individual Intake workers shall have (a) no more than 12 open cases, and (b)
   Performance Target            no more than eight new assignments per month. No Intake worker with 12 or more
                                 open cases can be given more than two secondary assignments per month.


  Performance as of December 31, 2018:

  The state reported an average of 1,065 active Intake workers between July and December 2018.
  Among those 1,065 active Intake workers, and average of 1,013 (95%) had caseloads that met
  the standard. Specifically, in December 2018, 988 (91%) of 1,082 active Intake workers were in
  compliance with individual worker standards. DCF continues to meet the individual Intake
  worker caseload standard.

  Data by Local Office show that during December 2018, performance ranged from 45 percent to
  100 percent, with 33 of 46 (72%) Local Offices having all Intake workers in compliance with
  caseload standards.

  Among the 62 workers who participated in the Monitor’s interviews for caseload verification, 32
  were Intake workers. Two of the 32 Intake workers reported exceeding the caseload limit of
  eight new assignments per month during the months of July, August and October 2018. Six
  (19%) Intake workers reported having more than 14 total cases including both primary and
  secondary case assignments on their caseload during the months of July, August and October
  2018. The Monitor staff spot check this data in NJ SPIRIT on a regular basis.

  DCF deploys Impact Teams (a supervisor and three workers) to a unit or a Local Office in
  different areas when intakes are unusually high, to assist in maintaining caseload standards by
  taking on investigation overflow. There are nine Impact Teams, one per Area Office.



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  “Shared” Cases between Intake and Permanency Workers

  As described in previous monitoring reports, Intake and Permanency workers sometimes share
  responsibility for families with open permanency cases when there are new allegations of abuse
  or neglect. According to DCF procedure, all Child Protective Services (CPS) reports are assigned
  to Intake workers to investigate and are reflected in caseload reporting as one of the Intake
  workers’ eight new referrals in the month and as one of their 12 open families for that month.
  However, when circumstances indicate that a family with an already open permanency case is
  the subject of a new CPS report, the work with the family becomes the shared responsibility of
  both Intake and Permanency workers until the investigation is completed.

  Intake workers are assigned a secondary worker designation in NJ SPIRIT for such cases with
  families who are already currently assigned a Permanency worker. According to DCF, this
  arrangement emphasizes the primary role of the Permanency worker in securing placement,
  facilitating visits, supporting the family to implement the case plan and coordinating services. It
  also reflects the Permanency worker’s responsibility to provide information to the Intake worker
  and to link the family to appropriate services and supports identified during the course of the new
  investigation, thus relieving the Intake worker of the overall case management responsibility for
  the case. Intake workers continue to be responsible for the work required to complete
  investigative tasks and to reach and document an investigative finding. Thus, these secondary
  assignments are counted as one of the Intake worker’s eight new referrals assigned in a month
  and as part of the total 14 open cases per month.

  DCF reports that Intake supervisors in CP&P Local Offices are expected to appropriately
  manage the workload of staff in their units and consider an Intake worker’s primary and
  secondary responsibilities when assigning new referrals. Table 3 provides the reported number of
  secondary assignments to Intake workers by month for this monitoring period.

                    Table 3: Number of CP&P Investigations and Secondary Intake
                           Assignments by Month (July – December 2018)117
                                              Total Investigations             Secondary Intake Worker
                      Month                   Assigned to Intake              Assignments of CPS and CWS
                                             Workers for the Month                    Investigations
                        July                         4,858                        471                10%
                      August                           4,926                      512                  10%
                     September                         5,521                      509                   9%
                      October                          6,935                      585                   8%
                     November                          5,838                      491                   8%
                     December                          5,770                      546                   9%
           Source: DCF data

  The Monitor reviewed monthly Local Office data on secondary assignments and found that on
  average, each Intake worker was assigned one secondary case at any given time during the
  period reviewed. The Monitor also found that an average of 24 percent of Intake workers

  117Total excludes intakes assigned to Impact, Permanency, Adoption and Advocacy Center workers and includes intakes
  assigned to workers on leave.

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  received two or more secondary case assignments and an average of six percent of Intake
  workers received three or more secondary assignments each month during the monitoring period.
  Specifically, in the month of December 2018, 280 (26%) Intake workers received two or more
  secondary intake assignments and 71 (7%) Intake workers received three or more secondary
  intake assignments.

  During phone interviews with caseworkers, Monitor staff inquired about the prevalence of
  secondary assignments and their impact on workload. Intake workers were asked about the
  frequency of secondary assignments, how these assignments affect workload and how they are
  measured. Of the 32 Intake workers interviewed, 13 (41%) workers reported receiving an
  assignment to investigate a new report on an open permanency case as a secondary worker at
  least once during the months of July, August and October 2018.

  To ensure that Intake workload is properly managed regardless of the combination of primary
  and secondary assignments, DCF continues to examine the processes used in Local Offices to
  make secondary assignments, as well as Local Office workflow management practices.

  Assignment of Investigations to Non-Caseload Carrying Staff

  On occasion, in order to handle the unpredictable flow of referrals for investigations, trained
  non-caseload carrying staff as well as caseload-carrying staff who are not part of Intake units
  (non-Intake caseload carrying staff) in Local Offices are assigned to investigations. DCF reports
  that all staff are required to complete First Responder training prior to being assigned an
  investigation and non-caseload carrying staff must have been similarly trained and receive
  supervision by the Intake supervisor. The Monitor’s review of DCF’s data for the months of July
  through December 2018 found that approximately one percent of investigations were assigned
  each month to non-caseload carrying staff and that about six percent were assigned to non-Intake
  caseload carrying staff. DCF produces a Caseload Report Exception List that documents all
  instances of intakes identified as assigned to non-caseload carrying workers and closely monitors
  this on an ongoing basis. Table 4 shows the number and percentage of investigations assigned to
  non-caseload carrying staff, and Table 5 shows the number and percentage of investigations
  assigned to non-Intake caseload carrying staff.

  As part of the phone interviews, Intake workers were asked if there were scenarios in their Local
  Offices in which non-caseload carrying staff could be assigned an investigation. Eight of the 32
  Intake workers (25%) reported that they were aware of instances in which this has happened in
  their office in July, August and October 2018. Respondents stated that non-caseload carrying
  staff with prior investigative experience can be assigned cases when all Intake workers in a Local
  Office reach their assignment limit for the month. The most frequently identified job titles for the
  non-caseload carrying staff who are assigned investigations are Administrative Assistant and
  Litigation Specialist.




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                Table 4: Percentage of CP&P Investigations Assigned to Non-Caseload
                          Carrying Staff by Month (July – December 2018)118
                                       Total Investigations           Number and Percentage of Investigations Assigned
               Month
                                      Received in the Month                    to Non-Case Carrying Staff
                July                            5,177                                39                              1%
               August                           5,286                                56                              1%
             September                          5,901                                39                              1%
              October                           7,667                                90                              1%
             November                           6,302                                49                              1%
             December                           6,197                                65                              1%
  Source: DCF data


                  Table 5: Percentage of CP&P Investigations Assigned to Non-Intake
                      Caseload Carrying Staff by Month (July – December 2018)
                                       Total Investigations           Number and Percentage of Investigations Assigned
              Month
                                      Received in the Month              to Non- Intake Caseload Carrying Staff119
                July                            5,177                          280                              5%
              August                            5,286                          304                              6%
            September                           5,901                          341                              6%
              October                           7,667                          642                              8%
            November                            6,302                          415                              7%
            December                            6,197                          362                              6%
  Source: DCF data
                                                             Adoption

                       26. Adoption Local Office Caseloads: Local offices will have an average caseloads
   Quantitative or
                           for Adoption workers of no more than 15 children per worker.
   Qualitative Measure
                                    95% of Local Offices will have an average caseload of no more than 15 children per
   Performance Target               Adoption worker.



                       27. Individual Worker Adoption Caseloads: Individual Adoption worker caseloads
   Quantitative or
                           shall be no more than 15 children per worker.
   Qualitative Measure
                                    95% of individual Adoption workers shall have a caseload of no more than 15
   Performance Target               children per month.



  118 Data are provided for investigations assigned within five days of intake receipt date and do not reflect additional assignments
  to an investigation after the first five days. DCF conducts monthly reviews of assignments to non-caseload carrying staff in NJ
  SPIRIT and has found that some investigations had been re-assigned to caseload carrying workers after the initial five days. As a
  result, the reported percentage of investigations assigned to non-caseload carrying staff may be lower than six percent.
  119 This includes Permanency, Adoption, Impact and Advocacy Center caseload carrying workers.



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  Performance as of December 31, 2018:

  Performance data for July through December 2018 show that 99 percent of Local Offices and 98
  percent of individual workers continued to maintain the adoption caseload standard during this
  period.120

  Among the 62 workers who participated in the phone interviews conducted by Monitor staff for
  caseload verification, eight were Adoption workers. All eight adoption workers interviewed
  reported caseloads within the standard during the months of July, August and October 2018.

                                                        Permanency
                                  4.  Permanency Local Office Caseloads: Local offices will have an average
   Quantitative or                    caseloads for Permanency workers of (a) no more than 15 families, and (b) no
   Qualitative Measure                more than 10 children in out-of-home placement per worker.
                                  95% of Local Offices will have an average caseload of (a) no more than 15 families,
   Performance Target             and (b) no more than 10 children in out-of-home placement per worker.



                                  5.  Individual Worker Permanency Caseloads: Individual Permanency worker
   Quantitative or                    caseloads shall be (a) no more than 15 families, and (b) no more than 10
   Qualitative Measure                children in out-of-home placement per worker.
                                  95% of individual Permanency workers shall have a caseload of (a) no more than 15
   Performance Target             families, and (b) no more than 10 children in out-of-home placement per worker.

  Performance as of December 31, 2018:

  Performance data for July through December 2018 show that 100 percent of Local Offices and
  100 percent of individual workers continued to maintain the permanency caseload standard
  during this period.121

  Among the 62 workers who participated in telephone interviews conducted by Monitor staff for
  caseload verification, 14 were Permanency workers. All 14 permanency workers interviewed
  reported caseloads within the standard during the months of July, August and October 2018.


                                 Institutional Abuse Investigation Unit (IAIU)
                                  3.  Individual Worker IAIU Caseloads: individual IAIU worker caseloads shall be
   Quantitative or                    (a) no more than 12 open cases, and (b) no more than eight new case
   Qualitative Measure                assignments per month.
                                  95% of individual IAIU workers shall have a caseload (a) no more than 12 open
   Performance Target             cases, and (b) no more than eight new case assignments per month.



  120 Reported performance is the average of DCF’s performance in meeting individual caseload standards during this six month
  monitoring period.
  121 ibid.



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  Performance as of December 31, 2018:

  DCF data show 100 percent of individual workers maintained the IAIU caseload standard
  for the period of July through December 2018.

                                                  Supervisory Ratio
                       2. Supervisor/Worker Ratio: Local Offices shall have sufficient supervisory staff
   Quantitative or
                          to maintain a five worker to one supervisor ration.
   Qualitative Measure
                                 95% of Local Offices shall have sufficient supervisory staff to maintain a five
   Performance Target            worker to one supervisor ration.


  Performance as of December 31, 2018:

  Performance data for July through December 2018 show that 100 percent of CP&P Local Offices
  had sufficient supervisors to maintain ratios of five workers to one supervisor.




      M. DEPUTY ATTORNEYS GENERAL STAFFING


   Quantitative or     7. DAsG Staffing: The State will maintain adequate DAsG staff potions and keep
   Qualitative Measure    positions filled.
                                  DCF will maintain adequate staffing levels at the DAsG office.
   Performance Target

  Performance as of December 31, 2018:

  As of December 31, 2018, 135 Deputy Attorneys General (DAsG) staff positions assigned to
  work with DCF were filled. Of those, two DAsG were on full time leave. Thus, there were a total
  of 133 (99%) available DAsG. DCF reports that in addition to these positions, DAsG outside of
  the DCF Practice Group have dedicated some of their time to DCF matters. DCF continues to
  meet the SEP standard for this measure.




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      N. ACCOUNTABILITY THROUGH QUALITATIVE REVIEW AND THE
         PRODUCTION AND USE OF ACCURATE DATA

  QUALITATIVE REVIEW

  New Jersey’s Qualitative Review (QR) is an assessment of the status of children, youth and
  families, the status of practice and the functioning of systems in each of the counties. The
  protocol and process used for the QR are aligned with DCF’s Case Practice Model. Select QR
  results related to both Child/Youth and Family Status and Practice/System Performance are also
  used to report on several SEP requirements included in this report, three of which are designated
  Outcomes To Be Achieved: Quality of Teaming (SEP IV.B.20), Quality of Case Plans (SEP
  IV.D.23) and Services to Support Transition (SEP IV.J.44); and two of which are designated
  Outcomes To Be Maintained: Educational Needs (SEP III.G.11) and Quality of Case Planning
  and Services for Older Youth (SEP IV.K.46).

  When conducting a QR involving children/youth under age 18, the legal guardian is asked to
  give informed consent for participation in the QR. Trained review teams of two persons
  including DCF staff, community stakeholders and staff from the Monitor’s office review CP&P
  case records and interview as many people as possible who are involved with the children/youth
  and their families. QRs take place during a single week and, over the course of two years, occur
  in 21 counties and involve almost 400 cases across the state. The results from reviews provide
  critical qualitative data on child/youth and family status and practice/system performance.

  At the conclusion of each week of the QR, the Case Practice Liaison (CPL) assigned to each
  Local Office through DCF’s Office of Performance, Management and Accountability (OPMA)
  works with staff in the county to develop a county-level Performance Improvement Plan (PIP)
  with short and long term goals to strengthen practice. The PIP is designed to address areas
  needing improvement identified during the QR debrief. The Office of Quality approves each PIP,
  aggregates results and shares them with leaders across DCF’s divisions. Findings from the QRs
  are incorporated into existing training and supervisory tools and used to identify systemic
  opportunities for improvement.

  DCF has developed a rigorous continuous quality improvement process that incorporates the QR
  results and now interfaces with DCF’s ChildStat meetings. ChildStat is a comprehensive review
  and discussion of system performance at a local level. While ChildStat previously focused on
  one case presentation in a particular Local Office, the new ChildStat format expands the scope to
  include discussions of county needs and an assessment of county-level strengths and areas
  needing improvement based on a review of quantitative data, QR results, and other county-level
  reviews. The format includes both CP&P and Children’s System of Care (CSOC) staff, and
  allows the DCF leadership team to ask questions of and explore solutions directly with county-
  level leadership. DCF is using ChildStat as an opportunity to build upon the QR to assess
  challenges and areas in need of improvement in case practice on a county level. Going forward,
  each county will be assessed at ChildStat every two years, following the QR schedule, and will
  report on progress on their county-level PIP every 12 months. The Monitor will report more
  details on the new continuous quality improvement process in the next monitoring report.



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  During CY 2018, using the QR protocol that DCF developed in CY 2015, DCF reviewed 195
  cases from 10 counties.122 Table 6 provides the gender, age and racial and ethnic demographics
  of the 195 children/youth. Fifty of the children/youth were living with a parent at the time of the
  review and 145 of them lived with a relative or non-relative resource parent.


            Table 6: Qualitative Review: Gender, Age and Race/Ethnicity Demographics
                                    (January – December 2018)
                    Gender                         Number of Cases                        Percentage of Cases*
                      Male                                  89                                      44%
                     Female                                106                                      56%

                      Total                                195                                     100%

                      Age                                   #                                       %
                 4 years or less                            64                                      33
                    5-9 years                               50                                      26
                  10-13 years                               27                                      14
                  14 -17 years                              22                                      11
                  18-21 years                               32                                      16
                      Total                                195                                     100%
                      Race                                  #                                        %
               White/Caucasian                              94
               African American                            105
                Native Hawaiian                             2
                American Indian                             1
                      Asian                                 2
                   Ethnicity                                #                                        %
                    Hispanic                                57                                       29
        Source: DCF data
        *The calculation of percentage of cases by race are not reflected here because some youth are counted in multiple
        categories.

  DCF reports that 2,015 individuals were interviewed across the state to inform the QR data for
  this reporting period. The informants for the QR include CP&P and Child Health Unit staff,
  biological parents, others who the children/youth or parents identified as supportive, relative and
  non-relative resource parents, education providers, mental health and legal professionals,
  substance abuse treatment providers and children/youth.123

  Reviewers evaluate the child/youth and family’s status on a range of indicators and rate whether
  the status was acceptable or unacceptable. See Table 7 for the results on each Child/Youth and
  Family status indicator for all cases reviewed from January through December 2018.
  Child/Youth and Family status indicators cover key areas of safety, stability in school, living

  122 DCF’s QR protocol reviews cases in every county over a two year period. In both CY 2016 and CY 2018, Qualitative
  Reviews were conducted in Burlington, Essex, Gloucester, Hudson, Hunterdon, Mercer, Monmouth, Passaic, Salem and Union
  counties.
  123 Interviews are usually conducted individually with participants, either by phone or in person. All efforts are made to see

  children/youth in the setting in which they reside.

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  arrangement, learning and development and physical health of the child. The overall child and
  family status was rated acceptable in 173 (89%) of cases reviewed, with separate ratings on
  specific child and family status indicators ranging from 67 percent (family functioning and
  resourcefulness) to 99 percent (safety of the child at home).

                  Table 7: Qualitative Review: Child/Youth and Family Status Results
                                       (January – December 2018)
        Child/Youth & Family Status                    Number of                    Number of                 Percentage of
                Indicators                           Applicable Cases            Acceptable Cases            Acceptable Cases

   Safety at Home                                            195                         194                         99%
   Safety in other Settings                                  195                         191                         98%

   Stability at Home                                         195                         168                         86%

   Stability in School                                       94                           86                         91%

   Living Arrangement                                        195                         192                         98%

   Family Functioning & Resourcefulness                      190                         128                         67%

   Progress towards Permanency                               195                         133                         68%

   Physical Health of the Child                              195                         186                         95%

   Emotional Well-Being                                      195                         179                         92%

   Learning & Development, Under Age 5                       64                           60                         94%

   Learning & Development, Age 5 & older                     85                           77                         91%

   OVERALL Child & Family Status                             195                         173                         89%
  Source: DCF data

  Table 8 shows the results of the QR ratings for practice and system performance indicators from
  reviews conducted January through December 2018. As with the child/youth and family status
  indicators, reviewers evaluated whether performance was acceptable or unacceptable. This is the
  third annual report measuring indicators under DCF’s new QR process and protocol.124

  The overall practice/system performance indicator was rated acceptable in 62 percent (121 of
  195) of cases, which represents a global judgement from reviewers after considering the case as a
  whole. Performance on Practice/System indicators ranges from 22 percent (assessment of
  fathers) to 95 percent (provision of health care services).

  Ratings for the SEP measures Educational Needs (SEP III.G.11), which consists of both the
  stability in school and learning and development, age 5 and older indicators, and Quality of Case


  124In CY 2015 DCF updated key portions of the state’s QR process and protocol, as described in Monitoring Report XVIII.
  Changes to the QR protocol include: (1) combination of team functioning and team formation indicators into one indicator,
  teamwork and coordination (2) exclusion of the overall indicator for all practice performance indicators (3) rating mothers and
  fathers separately in the practice performance indicators (4) removal of the family supports indicator for the practice performance
  indicators, and (5) replacement of the transitions and life adjustment indicator with successful transitions indicator.

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  Planning and Services for Older Youth (SEP IV.K.46), consists of both the overall child and
  family status and overall practice performance indicators, continue to meet SEP standards.

  Ratings for the SEP measures Quality of Teaming (SEP IV.B.20), which consists of the family
  teamwork and coordination indicator, Services to Support Transition (SEP IV.J.44), which
  consists of the successful transitions indicator, and Quality Case Planning (SEP IV.D.23), which
  consists of the case planning and tracking and adjusting indicators, all remain below acceptable
  standards.

                    Table 8: Qualitative Review: Practice/System Performance Results
                                        (January – December 2018)
                                                                # Cases               # Cases                 %
          Practice/System Performance Indicators
                                                               Applicable            Acceptable           Acceptable
                                           Child/Youth            122                   109                  89%
                                                Mother             128                    79                  62%
         Engagement
                                                 Father            117                    40                  34%
                                      Resource Family              118                   106                  90%
         Family                          Teamwork &
                                                                   145                    84                  58%
         Teamwork                        Coordination
                                          Child/Youth              195                   151                  77%
         Assessment &                           Mother             128                    51                  40%
         Understanding                           Father            117                    26                  22%
                                      Resource Family              118                   106                  90%
         Case Planning Process                                     195                   107                  55%
         Plan Implementation                                       195                   125                  64%
         Tracking & Adjusting                                      195                   137                  70%
         Provision of Health Care Services                         195                   185                  95%
         Resource Availability                                     195                   164                  84%

         Family &                               Mother              78                    60                  77%
         Community                               Father             67                    41                  61%
         Connections                           Siblings             43                    40                  93%
         Successful Transitions                                    118                    73                  62%
         Long Term View                                            195                    96                  49%
         OVERALL Practice/System Performance                       195                   121                  62%
        Source: DCF data

  QR performance in CY 2018 compared to CY 2017, though based on a different cohort of
  counties,125 demonstrates improvement on a few Practice/System Performance indicators, but
  most indicators have not moved beyond one or two percentage points. The indicators
  engagement of the father declined slightly from 40 percent rated acceptable to 34 percent, and
  performance on long term view declined slightly from 53 percent rated acceptable to 49 percent.


  125DCF’s QR protocol reviews cases in every county over a two year period. Thus, based on the sample plan, annual
  performance comparisons reflect cases pulled from two sets of counties.

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  However, performance on assessment of the mother improved slightly from 35 percent rated
  acceptable to 40 percent.

  When comparing QR results in CY 2018 to the same cohort of counties from the last time they
  were reviewed in CY 2016, there still has not been significant changes in performance in two
  years. There have been some improvements since CY 2016 in teamwork and coordination
  (increased acceptable ratings from 49% to 58%), plan implementation (increased acceptable
  ratings from 59% to 64%), and tracking and adjusting (increased acceptable ratings from 63% to
  70%).




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        O. NEEDS ASSESSMENT

                                  21. Needs Assessment: The State shall regularly evaluate the needs for additional
                                      placements and services to meet the needs of children in custody and their
    Quantitative or                   families, and to support intact families and prevent the needs for out-of-home
    Qualitative Measure               care. Such needs assessments shall be conducted on an annual, staggered basis
                                      that assures that every county is assessed at least once every three years.

                                  The State shall develop placements and services consistent with the findings of these
    Final Target                  needs assessments.


  In 2014, DCF engaged Rutgers University School of Social Work to conduct a multi-year Needs
  Assessment to identify the strengths and needs of families with children at risk of entering out-
  of-home placement as well as those already in care. A detailed description of DCF’s Needs
  Assessment process is available in previous monitoring reports, and DCF’s three interim reports
  are available on the DCF website.126 In sum, Phase I involved a review of DCF internal reports
  and assessments completed by DCF and its partners from CY 2008 to CY 2014. Phase II
  involved an analysis of the findings from Phase I and the identification of seven areas of need:
  caregiver mental health, caregiver substance abuse, child mental health, child substance abuse,
  poverty, housing and domestic violence. During Phase III of the Needs Assessment process,
  Rutgers identified three additional domains: justice system-involved children and caregivers,
  challenging populations (defined as populations especially challenging to serve across several
  need domains, including low-income and undocumented families) and multi-need, frequent
  contact families.

  During Phase III, researchers at the Child Welfare and Well-Being Research Unit at Rutgers
  School of Social Work conducted almost 2,000 surveys with CP&P staff, including (a) intake
  workers and permanency workers (637); (b) parents from families of origin, including those with
  children in the home (391) and those placed out-of-home (185); and (c) resource parents
  providing out-of-home care (739). In March 2018, DCF published its final report regarding these
  surveys in its DCF Needs Assessment 2018 Report #3: Survey Findings and Synthesis.127

  During the monitoring period, DCF made progress on its plan to fold the state’s needs
  assessment process into its Qualitative Review and ChildStat processes and presentations,
  described in Section V.N. The review of existing county-specific needs will include a
  combination of internal and external quantitative and qualitative data sources, including
  information provided by the Human Services Advisory Council (HSAC) that is informed by
  focus groups and stakeholder interviews conducted in each county. This process will also be part
  of federal and state improvement plans.




  126 To see DCF’s Needs Assessment Interim Reports from January 2015, March 2016, and April 2017, go to:
  http://www.nj.gov/dcf/childdata/protection/
  127 To see DCF’s Final Needs Assessment 2018 Report #3: Survey Findings and Synthesis, go to:

  http://www.nj.gov/dcf/childdata/protection/DCF.Needs.Assessment.Phase.IV.Report-March2018.pdf.

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      P. FISCAL YEAR BUDGET

  Governor Murphy's FY 2019 budget, effective July 1, 2018, included $1.15 billion in state funds.
  Commissioner Beyer testified in May 2018 in support of the proposed allocations, which
  included funding to continue DCF’s operations in accordance with the SEP. DCF received a
  supplemental appropriation in FY 2018 for $5.477 million to support utilization trends in the
  CP&P out-of-home placement, family support services, and subsidized adoption accounts.

  DCF’s FY 2019 appropriation includes an increase of $2.2 million over the adjusted FY 2018
  appropriation to support projected increases in utilization trends in CP&P independent living,
  family support services and subsidized adoption accounts. Additionally, $3 million was added to
  the budget to support debt service payments for new vehicles for CP&P.

  The requested FY 2020 budget, to be approved by the legislature in June 2019, totals $1.153
  billion, a decrease of $22 million or 1.9% under the FY 2019 adjusted appropriation of $1.175
  billion. The final FY 2020 budget will be reported in the next monitoring report.




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                                             APPENDIX: A
                           Glossary of Acronyms Used in the Monitoring Report

    AQC:        Area Quality Coordinators                              IAIU:   Institutional Abuse Investigative
                                                                               Unit
    CFSR: Child and Family Services Review
                                                                       ILA:    Independent Living Assessment
    CHU:        Child Health Unit
                                                                   LGBTQI: Lesbian, Gay, Bisexual,
    CIACC: Children’s Interagency                                          Transgender, Questioning/Intersex
           Coordinating Council
                                                                       KLG:    Kinship Legal Guardian
    CP&P: Division of Child Protection and
          Permanency                                                   LOM:    Local Office Manager

    CPL:        Case Practice Liaisons                                 MSA:    Modified Settlement Agreement

    CPM:        Case Practice Model                                    OAS:    Office of Adolescent Services

    CPS:        Child Protective Services                              OFV:    Office of Family Voice

    CQI:        Continuous Quality Improvement                         OPMA: Office of Performance
                                                                             Management and Accountability
    CSOC: Children’s System of Care
                                                                       PIP:    Performance Improvement Plan
    CSSP: Center for the Study of Social
          Policy                                                       PPFs:   Protective and Promotive Factors

    CWS:        Child Welfare Services                                 QR:     Qualitative Review

    DAsG: Deputy Attorneys General                                     SACWIS: Statewide Automated Child
                                                                               Welfare Information System
    DCF:        Department of Children and
                Families                                               SEP:    Sustainability and Exit Plan

    FAFS: Foster and Adoptive Family                                   SCR:    State Central Registry
          Services
                                                                       SDM:    Standard Decision Making tool
    FFT-FC: Family Functional Therapy –
           Foster Care                                                 SIBS:   Siblings in Best Placement
                                                                               Settings
    FSC:        Family Success Centers
                                                                       USDA: United States Department of
    FTM:        Family Team Meeting                                          Agriculture

    HCCM: Health Care Case Manager                                     YAB:    Youth Advisory Board


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                                                                     APPENDIX B




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